Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 1 of 74




                           UNITED STAPTES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                           CASE NO.

    SECURITIES AND EXCHANGE COMMISSION,

                             Plaintiff,

    V.

    RISHI KAPOOR; et al


                             Defendants.
    - - - - - - - - - - - - -I



     Emergency Ex Parle Motion for Asset Freeze and Other
            Relief Against Defendant Rishi Kapoor




                           EXHIBIT 2
                          Declaration of Clifford Losh
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 2 of 74




                                DECLARATION OF CLIFFORD LOSH

     Pursuant to 28 U.S.C. § 1746, the undersigned states as follows:

     I.     My name is Clifford Losh . I am over the age of twenty-one (21) and I have personal
            knowledge of the matters set forth herein .

     2.     I am a resident of Florida and at all relevant times resided in Miami-Dade County,
            Florida.

     3.     I am the managing member of CWL-CH LLC ("CWL"), a Florida limited liability
            company formed in February 2022 with its principal place of business in Miami, Florida.
            CWL was formed for the sole purpose of investing in URB IN Coconut Grove Partners,
            LLC ("URBIN Grove"), a real estate investment opportunity in Coconut Grove, Florida.
            URBIN Grove is managed by URBTN, LLC (" URBIN"), a Florida limited liability
            company. Until approximately August 14, 2023 , URBIN was managed and controlled by
            Rishi Kapoor (" Kapoor") through URBTN Founders Group, LLC. The purpose of
            URBIN Grove includes, among other things, acquiring, developing, leasing, and selling
            certain real property on Commodore Plaza in Coconut Grove, Florida.

     4.     In late 2021 , I started communicating with Kapoor about possibly investing in URBTN
           Grove . Kapoor insisted on getting all the investment capital up front, stating URBIN
           Grove needed the capital in order to sec ure construction financing for the company,
            which was currently pending. Kapoor represented that construction financing had been
           obtained , and once URBTN Grove rec~                           ibuti ~
            fellow investors, my fellow investors, _ _ _ _ and - - - -
           -              the construction financing transaction would close. Kapoor also represented
           that URBIN Grove had applied for and received the necessary permits for the URBTN
           Grove project and that it would take approximately 2-3 years to complete the URBTN
           Grove project.

     5.     In making the decision to invest, I received and reviewed documents concerning the
            special purpose entities relating to the URBIN Grove project and a financial model
            concerning the possible investment. URBIN, URBIN Grove, and Kapoor represented in
            the URBTN Grove Operating Agreement that URBIN Grove investor approval was
            required for all "Major Decisions," a defined term in the operating agreement that
            includes the deci sion to borrow money or enter into any financing for URBTN Grove.
            URBIN, URBTN Grove, and Kapoor also represented in the URBTN Grove Operating
            Agreement that they would provide URBIN Grove investors with internal financial
            reports, including a balance sheet, within 120 days after the end of each fi scal year and
            within 45 days after each calendar quarter. A true and correct copy of the Amended and
            Restated Operating Agreement of URBIN Coconut Grove Partners, LLC is attached as
            Exhibit A.

     6.     I decided to invest in URBTN Grove based on URBTN, URBIN Grove, and Kapoor ' s
            representations and because the expected returns represented by URBIN, URBIN Grove,

                                                                        EXHIBIT
                                                     1
                                                                           2
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 3 of 74




            and Kapoor seemed acceptable, ranging from 23.4% to 44% in different proforma
            scenarios. r believed that if Kapoor and his team performed as represented, it would be a
            good investment and would generate profits upon completion of the project. I also
            viewed the risks associated with investing were reduced given Kapoor' s representation
            that construction financing was about to close and the project had al I of the necessary
            permits to develop the property. Additionally, given that the URBIN Grove Operating
            Agreement required investor approval for all "Major Decisions," and investors
            collectively had majority voting power, I thought I had sufficient protections .

     7.     Ultimately, CWL invested $300,000 in URBIN Grove in late February 2022, and my
            fellow investors,                  invested $600,000 and $1 . 1 million, respectively.
            CWL,                       became Class B members of URBIN Grove by virtue of
            investing in URBIN Grove . After becoming an URBIN Grove investor and approving
            the budget at that time, CWL has never been asked to approve another budget.

     8.     Although the UR BIN Grove internal financial reports for the first quarter of 2022 were
            due to the URBIN Grove investors by May 15, 2022, Kapoor and his team failed to
            provide the reports at that time . When CWL did not receive the financial reports, r
            complained to Kapoor. Additionally, a representative of one of the other URBIN Grove
            investors sent an email to Location Ventures, LLC's (" Location Ventures") chief investor
            relations officer on June 16, 2022, asking about the status of the UR BIN Grove first
            quarter 2022 financial reports. A true and correct copy of the June I 6, 2022 email and
            the subsequent email chain on the issue is attached as Exhibit B. In response, Kapoor
            held a conference call on June 16. 2022 with the URBIN Grove investors.

     9.     During the June 16, 2022 call , Kapoor stated the URBJN Grove construction lender
            decided not to go forward with the construction financing. This concerned me because of
            Kapoor' s prior representation that construction financing would close after investors
            made their capital contributions to URBIN Grove . Kapoor also communicated an
            intention to obtain financing for the URBJN Grove project that materially differed from
            the financing he previously communicated to me and my fellow URB[N Grove investors .
            Specifically, Kapoor proposed to obtain additional investor financing and cross-
            collateralize the URBIN Grove project with a number of other projects. I, along with
            others, objected to Kapoor ' s proposed financing , the proposed cross-collateralization of
            projects, and to entering into debt or financing arrangements without getting URBJN
            Grove investor approval. When questioned about this on the June 16, 2022 call, Kapoor
            stated the Manager, i.e., URBJN and himself, could undertake financing without any
            consents or approvals from the URBJN Grove investors and he intended to proceed
            accordingly. This directly contradicts the representations set forth in the URBJN Grove
            Operating Agreement.

     I 0.   During the call and in a follow-up e-mail (see Exhibit 8), Investors also asked about the
            failure to provide the quarterly financial reports, which were then more than a month
            overdue. While Kapoor did not provide any explanation for not providing the financial
            reports as required, Location Ventures' chief investor relations officer emailed URBIN
            Grove investors a copy of URBJN Grove' s first quarter 2022 financial reports on June 21 ,


                                                     2
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 4 of 74




           2022 . The June 21 , 2022 email disclosed that the URBIN Grove project " had pay downs
           for the loan to avoid foreclosure to buy extensions, and purchased what was to be out of
           contract with no extensions for the land for LS2." A ft:er seeing this and inquiring, I
           learned URBIN Commodore Residential SPE, LLC, an entity owned by URBIN Grove
           for the purpose of owning or holding the real estate URBIN Grove was developing, had
           paid forbearance fees in excess of $150,000 concerning a $4 million loan previously
           unknown to me.

     11.   Although the URBIN Grove investors requested copies of the loan documents concerning
           all loans where forbearance fees were paid, URBIN, URBIN Grove, and Kapoor failed to
           produce the loan documents. The URBIN Grove investors had not approved the URBIN
           Grove project incurring this $4 million in debt or paying forbearance fees . Kapoor
           avoided answering questions concerning the loan and forbearance fees when confronted .

     12.   Also, upon reviewing the URBIN Grove financial reports, I noticed condominium
           deposits for sales of condominiums never appeared on the balance sheet notwithstanding
           the balance sheet showed fees being paid to a third party for such sales. Kapoor would
           not answer questions when I asked him about these fees or the condominium deposits.

     13.   I subsequently learned the URBIN Grove project incurred significant new and
           unapproved debt. It is my understanding the proceeds of this debt did not go to the
           URBIN Grove project, but Kapoor instead used the proceeds to partially redeem an
           investor in Location Ventures. Kapoor, URBIN, and URBIN Grove did not disclose this
           debt to me or how the proceeds were to be used . Moreover, Kapoor allowed a mortgage
           to be placed on the URBIN Grove property to secure this debt without the approval or
           knowledge of the URBIN Grove investors.

     14.   I understand that sometime in July 2023 , Kapoor was removed or stepped down as
           manager of Location Ventures and was replaced by retired Miami-Dade Circuit Judge
           Alan Fine. I also understand that Judge Fine's mission purportedly is to wind-up
           Location Ventures ' business and to liquidate its assets. I also understand that sometime
           in August 2023 , Kapoor stepped down or was removed as manager of URBIN, LLC and
           was replaced by Vivian Bonet Rubio, Location Ventures' chief development officer.

     15.   I am concerned that no one is protecting the interests of the URBIN Grove investors. As
           an investor in the URBIN Grove project. I have not been included in the decisions
           leading up to and following Kapoor ' s removal. At no time has anyone from Location
           Ventures or URBIN contacted me concerning Kapoor' s removal as manager of Location
           Ventures or URBIN, and whether it impacts CWL ' s URBIN Grove investment. Nor has
           anyone contacted me concerning the status of and plans for the URBIN Grove project
           going forward or how CWL ' s investment could be impacted . The last status update I
           received from anyone at Location Ventures or URBIN concerning my investment in
           URBIN Grove was during January 2023 While I do not know Judge Fine, I have
           concerns about his appointment as Location Ventures ' manager because, it is my
           understanding, Judge Fine ' s appointment was spear-headed by the same non-URBIN



                                                   3
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 5 of 74




            investor that received millions of dollars as a partial buy-out of its investment in Location
            Ventures, as described in paragraph 13 above.

             I declare under the penalty of perjury that the foregoing is true, correct, and made in good
     faith. Executed on this I 0th day of October 2023.                       ~~



                                                                  Clifford Losh




                                                     4
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 6 of 74




                   EXHIBIT "A"
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 7 of 74




                           AMENDED AND RESTATED OPERA TING AGREEME T
                              OF URBIN COCONUT GROVE PARTNERS, LLC

             This Operating Agreement (this "Agreement") is the operating agreement of URBIN
     Coconut Grove Partners LLC, a Florida limited liability company ("the Company"), effective as
     of January I, 2022 (the "Effective Date"), and is made by and among the Company, URBIN,
     LLC, a Florida limited liability company (the "Sponsor"), and those other members identified on
     Exhibit A (each a "Non-Voting Member" and col lectively with the Sponsor, the "Members").
     The Members' addresses are set forth in Exhibit A. Capitalized terms used in this Agreement and
     not elsewhere defined shall have the meanings set forth in Exhibit B, the provisions of which are
     incorporated herein by reference.

                                                 RECITALS

            A.     The Company was organized as a limited liability company under Florida law on
     or about August 16, 2018, in accordance with the Act;

             B.    The Members have entered into this Agreement for the purpose of memorializing
     their agreements regarding the management, operation and governance of the Company; and

              C.      The Company is intended to constitute a "qualified opportunity zone business"
     ("OOZB") pursuant to Section 1400Z-2(d)(3) of the Code, and the interest of any Member that is
     itself a "qualified opportunity fund" pursuant to Section 1400Z-2(d) of the Code (a "OOF") is
     intended to constitute a "qualified opportunity zone partnership interest" ("OOZPI") under
     Section I400Z-2( d)(2)(C) of the Code;.

             NOW, THEREFORE, in consideration of the covenants set forth below, and intending to
     be legally bound, the parties agree that this Agreement shall be the sole and exclusive "operating
     agreement" of the Company for purposes of the Act, and shall revoke and replace any previously
     existing agreement between the Members, oral or written.

                                               ARTICLE 1
                                          FORMATION OF COMPANY

              1.1    Recitals . The recitals set forth above are true, correct and complete and are hereby
     ratified, confirmed, and hereby incorporated by reference.

           1.2    Formation. The Company has been organized as a Florida limited liability
     company pursuant to the Act.

                     1.3   Name. The name of the Company is " URBI N Coconut Grove Partners, LLC."

             1.4   Office. The address of the Company ' s office as of the Effective Date is 299
     Alhambra Circle, Suite 510, Coral Gables, Florida 33 134. The Manager may change the
     Company 's registered address and/or office address from time to time. In addition, the Company
     may maintain other offices or places of business as the Manager deems advisable for the conduct
     of the Company ' s business. As of the Effective Date, the registered agent of the Company is Romy



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Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 8 of 74




     K. Kapoor, Esq., 299 Alhambra Circle, Suite 510, Coral Gables, Florida 33134. The Manager may
     change the registered agent as it deems appropriate.

             1.5    Term. The term of the Company shall be perpetual, unless the Company is earlier
     dissolved in accordance with the provisions of this Agreement.

             1.6     No State-Law Partnership. This Agreement shall not create a partnership or joint
     venture for state- law purposes, and no Member will be considered an agent, partner or joint
     venturer of any other Member. It is intended that the Company will be deemed a partnership for
     federal tax purposes, and each Member shall file all tax returns and shall otherwise take all tax and
     financial reporting positions in a manner consistent with such treatment. The Members will be
     considered partners for tax purposes only.

             1.7    Agreement; Effect oflnconsistencies with the Act. The terms and conditions of
     this Agreement are intended to be the sole and exclusive "operating agreement" of the Company
     for purposes of the Act, and may from time to time be amended, supplemented, or restated in
     accordance with this Agreement. The Members intend that this Agreement shall be the sole source
     of the terms and conditions of the relationship among the parties and, except to the extent a
     provision of this Agreement expressly incorporates other laws (such as federal income tax rules
     by reference to applicable federal income tax laws) or is expressly prohibited or ineffective under
     the Act, this Agreement shall govern, even when inconsistent with the Act or any other law. To
     the extent any provision of this Agreement is prohibited or ineffective under the Act, this
     Agreement shall be considered amended (in the most minimal manner possible) in order to make
     such provision effective under the Act. This Agreement revokes and supersedes all prior operating
     agreements of the Company.

            1.8     Maintenance of Records at Company's Principal Office. The Company shall
     keep at its principal office those records required by the Act. The Company wil I provide the
     Members and their agents, representatives and attorneys reasonable access to its records at the
     Company ' s principal office.

                                         ARTICLE 2
                              PURPOSES AND POWERS OF COMP ANY;
                                  SCOPE OF THIS AGREEMENT

             2.1    Purposes. The purpose of the Company is to engage in any lawful act or activity
     and to exercise any powers that are permitted to limited liability companies organized under the
     Act. Nevertheless, and without limiting the foregoing, the Members expect that the sole business
     of the Company will be to own I 00% of the interests in a to be formed entity (the "Mezz Entity"),
     that will own I 00% of the interests in URBIN Commodore SPE, LLC, URBIN Commodore
     Restaurant SPE, LLC, URBIN Commodore Residential SPE, LLC and other to be formed single
     purpose entities, all of which will do or will own various parcels of real estate on Commodore
     Plaza in Coconut Grove, Florida (the "Owners"), which entity is expected to acquire, finance,
     demolish, develop, re-develop, operate, lease and sell (the "Business") all such Commodore Plaza
     parcels (the "Property"), all while engaged in a QOZB. All Properties owned as of the Effective
     Date are described on Exhibit C to this Agreement. For the avoidance of doubt, the foregoing
     purposes shall be carried out in an effort that the Company shall at all times qualify as a QOZB,



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Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 9 of 74




     and the QOZB in which the Company intends to engage is the Development, construction and
     management of the Property, which is in a QOZ. Without in any way limiting the Manager' s
     authority, it is agreed that the Manager shall have the right to create an operating agreement for
     Owners and the Mezz Entity and amend such operating agreements as it deems appropriate from
     time to time.

             2.2     Title. All assets acquired with Company funds or to effectuate the purposes of the
     Company shall be titled exclusively in the name of the Company or Owners. The Manager shall
     execute and file in all appropriate locations such documents, if any, as may be necessary to reflect
     the Company ' s ownership of any of its assets requiring public filings or other evidence of
     ownership. All assets owned by the Company, whether real or personal, tangible or intangible or
     mixed, shall be deemed to be owned exclusively by the Company as an entity, and no Member
     shall have any ownership interest in such assets.

            2.3     Powers. In carrying out the purposes of the Company, but subject to all other
     provisions of this Agreement, the Company shall have all powers and rights of a limited liability
     company organized under the Act and shall exercise such powers and rights in furtherance of and
     in compliance with the QOZ rules.

            2.4    Limitations on Authority of Members and Others. Except for the authority
     expressly granted or delegated in accordance with this Agreement, no Member, Manager,
     employee, or other agent of the Company shall have any authority to bind or act for the Company
     or any other Member.

                    2.5   Compliance with QOZ Rules.

                      (a)     General. The Company is intended to operate as a QOZB and in a manner
     that will facilitate the ability of any Members that are QOFs to continue to treat their interests in
     the Company as QOZPis (collectively, the "OOZ Compliance Requirements"). In furtherance
     of the foregoing, the Manager shall use reasonable best efforts to cause the Company to continue
     to qualify as a QOZB, and shall provide any QOF Member with any information reasonably
     requested by such Member, including any information necessary for any such Member to properly
     complete an IRS Form 8996. Accordingly, the Members acknowledge that the Manager, in
     consultation with QOZ legal counsel and with the consent of the QOF Members, may implement
     such amendments as are necessary in order to further this objective, subject to the applicable terms
     of Section 12.10 and so long as such amendments do not adversely affect the rights, obligations or
     interests of any Member that does not approve of same.

                      (b)    Working Capital Safe Harbor. The Company shall maintain (and each
     Member shall cooperate with reasonable requests for factual information regarding) a written
     schedule (the "WCSH Schedule"), updated from time to time in compliance with the QOZ Rules
     and attached hereto as Exhibit E, (i) setting forth the amount of working capital held by the
     Company and any of its subsidiaries (which may be a reasonable good faith approximation) (the
     "Working Capital Reserve"); (ii) designating such Working Capital Reserve for use in
     connection with the Property; and (iii) containing a written schedule consistent with the ordinary
     start-up of a trade or business for the expenditure of such Working Capital Reserve in connection
     with the Property, which schedule shall provide that the initial Working Capital Reserve will be



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Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 10 of 74




     spent within thirty-one (31) months of the receipt thereof (or by the end of the subsequent safe
     harbor period described in the following clause), and that any subsequent cash infusions will
     similarly be spent within thirty-one (31) months of the receipt thereof, and will form an integral
     part of the working capital safe harbor plan that covered the initial Working Capital Reserve. The
     WCSH Schedule shall be consistent with the initial Approved Budget. The Working Capital
     Reserve shall be held in an interest-bearing account The schedule contemplated by this Section
     2.6(b) is intended to comply with Treasury Regulations Section I. I400Z2(d)- I (d)(3)(v) and (vi)
     and shall be interpreted in a manner consistent with such intent, and the schedule may reflect
     successive applications of the working capital safe harbor as permitted under Treasury Regulations
     Section 1. l 400Z2(d)-l (d)(3)(v)(E). The Manager shall track the deployment of funds from the
     Working Capital Reserve, as well as any interest or other investment gains or losses earned on
     such Working Capital Reserve, and shall provide any QOF Members with a reasonably detailed
     report on the use of such funds and the interest earned thereon upon reasonable request

                     (c)   Caveat. Notwithstanding anything to the contrary in this Agreement, the
     -        Member may, in its sole discretion, cause the Company or the Manager, as applicable, to
     take (or refrain from taking) any action that it reasonably determi~s necessary for the
     Company to qualify as a QOZB, (ii) will facilitate the ability of the -      Member to comply
     with (and qualify under) the QOZ Rules, and (iii) is otherwise necessary to preserve the benefits
     that each QOF Member or its constituent members or equity holders are or may be entitled to under
     the QOZ Rules.

                                          ARTICLE3
                               ADMISSION OF MEMBERS; INTERESTS

             3.1      Classes and Issuance of Interests . The Company is initially authorized to issue
     three classes of Membership Units for a total of twelve ( 12) million Membership Units available
     for issuance to Members. The Manager shall have the discretion to issue the twelve ( 12) million
     Membership Units as either Class A or Class B Membership Units. All Membership Units shall
     be issued at one unit for each dollar invested by the Member in question in the Company, regardless
     of the class of the unit being issued. Only Class A Membership Units include voting rights.
     Otherwise, except to the extent (if any) required by the Act or set forth in Section 6.5(c) below,
     the owners of Class B Membership Units (the "Non-Voting Members"): (i) have absolutely no
     right to vote on or consent or object to any Company matter; (ii) have absolutely no appraisal or
     dissenter' s rights (and hereby waive all similar rights to the fullest extent permitted by applicable
     law) ; and (iii) agree to execute all future amendments of this Agreement that are reasonably
     required by a prospective lender to the Company or Owners and which do not materially and
     adversely affect the economic interests of the Non-Voting Members, subject to the provisions of
     Section 2.5 above. The names, addresses, Membership Units issued to and initial Capital
     Contribution of each Member as of the Effective Date is reflected on the attached Exhibit A, which
     shall be amended from time to time by the Manager to reflect any changes to the Percentage
     Interests, Capital Contributions, or names and addresses of the Members.

             3.2   Issuance of Additional Membership Interests. At any time the Manager deems
     appropriate and as approved by Member Approval, and after complying with the Preemptive
     Rights of the Members set forth in Section 3.4 below, the Company may authorize and issue
     additional Membership Units and additional classes of Membership Units, without limitation . The



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Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 11 of 74




     Company shall not sell or issue any Membership Units to new Members without such new
     Members executing this Agreement.

              3.3     Percentage Interests . The Percentage Interests of the Members is expected to
     fluctuate over time. Initially, Class 8 Members wi ll have a Percentage Interest that corresponds to
     the number of Membership Units issued to each such Member out of the total of twelve ( 12)
     million authorized Membership Units pursuant to Section 3.1 . However, so long as no more than
     twelve (12) million Membership Units have been issued, the Class A Member' s Percentage
     Interest will be calcu lated as the difference between one hundred percent (100%) and the total of
     the Percentage Interests collectively of al I Class 8 Members. If and when the total Membership
     Units issued exceed twelve ( 12) million, then the Percentage Interests of all Members will be
     calcu lated as the total of such Member' s Membership Uni ts of any class divided by the total of all
     issued and outstanding Membership Units of any class.

             3.4     Preemptive Rights. All Class A and Class 8 Members shall have the preemptive
     rights described in this section (the "Preemptive Rights"). The Preemptive Rights shall apply to
     the following offerings: (i) any offering of any Membership Units of any class after the issuance
     of the initial twelve (12) million Membership Units authorized by Section 3.1 above . In any
     situation in which the Preemptive Rights apply, all Membership Units the Company intends to
     offer to anyone must first be made avai lable to all existing Class A and Class 8 Members,pro rata
     based on their Percentage Interests. Thereafter, to the extent the proposed new Membership Units
     are not all acquired by exist ing Class A and Class 8 Members within ten (I 0) days of being offered,
     such unacquired Membership Units shal l be offered again in writing to those existing Class A and
     Class 8 Members who did elect to acqu ire new Membership Units, also pro rata, with seven (7)
     days to accept same. Thereafter, to the extent any such new Membership Units are still available,
     they may be offered by the Manager to others as the Manager deems appropriate, but only on the
     exact same terms they were offered to the existing Members in accordance with this section. If the
     Manager wishes to deviate from the terms on which the new Membership Un its were offered to
     the existing Members pursuant to this section, the Manager must commence the process again
     from the beginning.

                                         ARTICLE 4
                         CAPITAL; CAPITAL ACCOUNTS; MEMBER LOANS;
                      ALLOCATIONS OF PROFITS, LOSSES AND DISTRIBUTIONS

             4.1    Initial Capital Contributions. The minimum initial capital required by the
     Company to engage in the Business at the Property is Twelve Million Dollars ($12,000,000) (the
     "Initial Capital"). All Initial Capital shall be priced at One Dollar ($1 .00) per Membership Unit.
     As of the Effective Date, each of the Members has already contributed and is committed to
     contribute the amounts set forth on Exhibit A to this Agreement as Capital Contr ibutions to the
     Company. The Capital Contributions of the Members shall be set forth on Exhibit A, which shall
     be amended from time to time by the Manager to reflect any additional Capital Contributions made
     or committed to be made by the Members.

                4.2    Additional Capital Contributions.




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Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 12 of 74




                     (a)    In addition to the Initial Capital Contributions, if it is determined by the
     Manager that the Company requires additional capital for any purpose, then the Manager, in its
     sole discretion, may cause the Company to do any or all of the following : (i) offer additional
     Membership Units in accordance with Section 3.2 above but subject to the Preemptive Rights; (ii)
     borrow money from the Sponsor or its Affiliates in the form of an unsecured demand loan bearing
     interest at the rate of six percent (6%) per annum , which loan(s) must be repaid before any
     Distributions are made to any Members (a "Member Loan"); or (iii) make a call for
     Uncontrollable Capital Contributions in accordance with Section 4.2(6) below.

                     (b)    The Class A and Class B Members shall make all additional Capital
     Contributions that the Manager reasonably determines are required by the Company to pay for
     expenditures needed : (i) by reason of a bona fide emergency situation affecting the Property, which
     jeopardizes the development of the Property or the Property itself, and requires the immediate
     attention of the Company, including the cost of essential repairs to the Property in response to an
     imminent life-threatening need or risk of Property damage, or (ii) for any payments required to be
     made by the Company for (A) real estate taxes, utilities, insurance premiums or similar obligations
     the cost of which is mandated and fixed by applicable laws, code compliance and regulations or
     by the terms of any construction loan or any financings to which the Company or any of the Owners
     are bound, or (B) any interest or principal payment or other sum or charge due under any mortgage
     loan to the Company or the Owners (collectively, "Uncontrollable Capital Contributions"). The
     Uncontrollable Capital Contributions required by this section shall be made within ten ( 10) days
     of the Manager' s written notification that such funds are needed as set forth above, and shall be in
     available U.S. cash funds, equal to the product of the total amount of such Uncontrollable Capital
     Contribution multiplied by such Member's Percentage Interest (as of the date on which it is
     determined that the Uncontrollable Capital Contribution is required).

                     (c)    The Company shall reasonably accommodate any request by a QOF
     Member that seeks to make an advance contribution of any amounts to the Company that such
     Member determines is necessary in order for such Member to continue to qualify as a QOF;
     provided that, no such additional capital contribution shall earn any return, change the Percentage
     Interests of the Members or in any way alter the economic rights of the Members under this
     Agreement.

                      (d)     If a Member fai ls to make all or part of an Uncontrollable Capital
     Contribution required under Section 4.2(6), on or before the date required, and such failure is not
     remedied within ten ( 10) days following receipt of written notice from the Company or another
     Member (a "Defaulting Member"), then the other Member, if it timely made its Additional
     Capital Contribution or Uncontrollable Capital Contribution (a "Contributing Member"), may,
     at its sole option, pay the Company the amount of any such deficiency on behalf of the Defaulting
     Member. The amount so advanced by the Contributing Member shall be treated as a loan by the
     Contributing Member to the Defaulting Member and a capital contribution by such Defaulting
     Member (a "Deficiency Loan") bearing interest, compounding annually and computed on a 365-
     day basis, from the date advanced until repaid, at the lower of ten percent ( 10%) per year or the
     highest rate permitted under applicable usury laws. Deficiency Loans shall be demand loans,
     payable on thirty (30) days ' notice, and all Distributions payable to the Defaulting Member under
     this Agreement shall be first paid, instead, to the Contributing Member until the Deficiency Loan
     has been repaid (but shall, for all other purposes of this Agreement, be treated as having been


     {W U570503 21
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 13 of 74




     distributed to such Defaulting Member). The Contributing Member shall have all remedies
     available to it under applicable law with regard to collection of amounts due on Deficiency Loans.
     In the event that the Defaulting Member fails to repay the Deficiency Loan and all accrued and
     outstanding interest after a thirty (30) day written demand for same, then the Contributing Member
     may elect, at its sole discretion, to dilute the Defaulting Member' s Membership Interest, as the
     Contributing Member' s sole remedy and in full satisfaction of the applicable Deficiency Loan, on
     a two to one (2: I) basis, meaning that the Defaulting Member' s interests with respect to its Capital
     Account and Percentage Interest shall be diluted by Two Dollars ($2.00) for every One Dollar
     ($1.00) contributed by the Contributing Member and the Capital Account and Percentage Interests
     in question will be deemed transferred to the Contri ~ M ember; provided, however, if the
     " Defaulting Member" is the -            Member and the -         Member' s share of Uncontrollable
     Capital Contributions of the Company during any twelve ( 12) month period exceeds Two Hundred
     and Fifty Thousand Dollars ($250,000.00), in ~           egate, then with respect to such excess, the
     Capital Account and Percentage Interest of the -          Member will only be diluted ifthe -
     Member fails to repay the Deficiency Loan for such excess attributable to the -              Member
     within one hundred and eighty ( 180) days after the Deficiency Loan is advanced by a Contributing
     Member, and in such event, the rate of dilution will be One Doll~0) for every One Dollar
     ($1 .00) contributed by the Contributing Member on behalf of the -           Member.

                     4.3   Intentionally Omitted.

             4.4     No Third-Party Beneficiary. Except as otherwise provided in this Agreement, no
     provision of this Agreement is intended to be for the benefit of any creditor or other Person (other
     than a Member in its capacity as a Member) to whom any debts, liabilities or obligations are owed
     by (or who otherwise has any claim against) the Company or any of the Members; and, no such
     creditor or other Person shall obtain any right under this Agreement or shal I by reason of this
     Agreement make any claim in respect to any debt, liability or obligation (or otherwise) against the
     Company or any of the Members or their Membership Interests.

            4.5     Capital Accounts. The Company shall maintain a separate capital account
     ("Ca pital Account") for each Member and such Member' s legal representatives, successors and
     permitted assigns.

                         (a)    The Capital Account of each Member shall be maintained in accordance
                 with Section 1.704-l(b) and Section 1.704-2 of the Regulations as in effect on the date of
                 this Agreement and shall be interpreted and applied in a manner consistent with such
                 Regulations and shall also be maintained and adjusted pursuant to the provisions of
                 Regulations Section I. 704-1 (b )(2)(iv)(f). If the Managers reasonably determine that it is
                 prudent to modify the manner in which the Capital Accounts, or any debits or credits
                 thereto, are computed in order to comply with Regulation Section I. 704-1 (b) and Section
                 1.704-2, the Managers will make such modifications.

                         (b)      The Capital Account of each Member shall be as set forth herein and
                 increased by allocations of Profits pursuant to Section 4.6, and additional cash contribu-
                 tions and contributions of property to the extent of the fair market value of such property
                 (net of liabilities secured by such property assumed by the Company or subject to which
                 the Company takes the property), and decreased by allocations of Losses pursuant to



     {W05705U3 2 }
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 14 of 74




                      Section 4.6, and by distributions and withdrawals of cash and property (to the extent of the
                      fair market value thereof, net of liabilities secured by such property assumed by the
                      Member or subject to which the Member takes the property).

                              (c)      In the event of a Transfer ofan Interest or any portion thereof in accordance
                      with the terms of th is Agreement, whether or not the purchaser, assignee or successor-in-
                      interest is then a Member, the Person so acquiring such Interest or any portion thereof shall
                      acquire the Capital Account or portion thereof of the Member formerly owning such
                      Interest, adjusted for distributions made pursuant to Section 5.1 and allocations of Profits
                      and Losses made pursuant to Section 4.6.


                      4.6    Profits and Losses.

                             (a)     Generally.

                                     (i)     The Profits and Losses of the Company shall be determined for each
                             Fiscal Year in accordance with the accounting method followed by the Company
                             for federal income tax purposes. Except as otherwise provided herein, whenever a
                             proportionate part of the Profit or Loss is credited or charged to a Member' s Capital
                             Account, every item of income, gain, loss, deduction or credit entering into the
                             computation of such Profit or Loss shall be considered either credited or charged,
                             as the case may be, in the same proportion to such Member' s Capital Account, and
                             every item of credit or tax preference related to such Profit or Loss, and applicable
                             to the period during which such Profit or Loss was realized, shal I be allocated to
                             such Member in the same proportion.

                                     (ii)     Except as otherwise provided in this Agreement, Profits and Losses
                             shall be allocated to the Members in accordance with Section 4.6(b), as amended
                             from time to time, and for this purpose, at the end of the month (the "PL Effective
                             Date") that includes the date on which a new Member is admitted (or deemed
                             admitted) into the Company or a valid transfer of all or part of a Member's Interest
                             is effected (or deemed to be effected), the books of the Company shall be closed in
                             accordance with Section 706(d) of the Code, and consistent therewith: (A) items of
                             income, deduction, gain, loss and/or credit of the Company that are recognized prior
                             to the PL Effective Date shall be allocated among those Persons who were Members
                             in the Company prior to the Effective Date in accordance with their respective
                             Interests prior to the Effective Date; and (B) items of income, deduction, gain, loss
                             and/or credit of the Company that are recognized after the PL Effective Date shall
                             be allocated among the Persons who were Members after the PL Effective Date in
                             accordance with their respective Interests after the Effective Date.

                             (b)     Allocation of Profits and Losses.

                                     (i)      Subject to any allocation required under Section 4.6(c) or Section
                             4.6(d), Profits during each of the Company' s taxable years shall be allocated among
                             the Members as follows:



     (W 0570503 2 }
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 15 of 74




                                    first, to the extent of cumulative Losses, net of Profits, allocated to
                            the respective Members, in the reverse order that Losses were previously
                            allocated to the respective Members; and

                                    thereafter, to the Members pro rata in accordance with their
                            respective Percentage Interests, adjusted in the discretion of the Manager to
                            account for the actual receipt of Distributable Cash Flow for the period in
                            question, provided that all distributions are made in accordance with the
                            Members' respective Percentage Interests.

                             (ii)   Subject to any allocation required under Section 4.6(c) or Section
                    4.6( d), Losses during each of the Company ' s taxable years shall be allocated as
                    follows:

                                   (A)      first, to the Members in the amounts and proportions
                            necessary to bring the respective Capital Account balances of the Members
                            in proportion to their respective Percentage Interests;

                                    (B)     next, to the extent of cumulative Profits, net of Losses,
                            allocated to the respective Members, in the reverse order that Profits were
                            allocated to the respective Members ; and

                                    (C)     thereafter, to the Members pro rata in accordance with their
                            respective Percentage Interests; provided, that Losses will be allocated first
                            to Members with positive Capital Accounts and after all Members' Capital
                            Accounts are zero, then additional Losses will be allocated in accordance
                            with their respective Percentage Interests.

                    (c)     Special Allocation Provisions.

                             (i)     General Limitation. Notwithstanding anything to the contrary
                    contained in this Section 4.6, no allocation shall be made to a Member which would
                    cause such Member to have a deficit balance in his, her or its Capital Account which
                    exceeds the sum of such Member' s share (if any) of the recourse debt of the
                    Company, such Member' s share of Company Minimum Gain (as defined in Section
                    4.6(c)(iv)) and such Member' s share of Member Nonrecourse Debt Minimum Gain
                    (as defined in Section 4.6(c)(v)). If the limitation contained in the preceding
                    sentence would apply to cause an item of loss or deduction to be unavailable for
                    allocation to all Members, then such item of loss or deduction shall be allocated
                    between or among the Members in accordance with the Members ' respective
                    " interests in the Company" within the meaning of Section 1.704-1 (b)(3) of the
                    Regulations.

                            (ii)   Qualified Income Offset. In the event any Member unexpectedly
                    receives an adjustment, allocation or distribution described in clauses (4), (5) or (6)
                    of Regulation Section 1.704-1 (b)(2)(ii)(d) that results in such Member having a
                    negative balance in its Capital Account in excess of the amount it is obligated to
                    restore under this Agreement or is deemed obligated to restore pursuant to the


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Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 16 of 74




                     penultimate sentences of Sections l.704-2(g)( I) and l.704-2(i)(5) of the
                     Regulations on a liquidation of the Company (or of the Member' s Interest in the
                     Company), then such Member shall be allocated income and gain in an amount and
                     manner sufficient to eliminate such excess as quickly as possible. To the extent
                     permitted by the Code and the Regulations, any special items of income or gain
                     allocated pursuant to this Section 4.6(c)(ii) shall be taken into account in computing
                     subsequent allocations of Profits and Losses pursuant to this Section 4.6, so that the
                     net amount of any items so allocated and the subsequent Profits and Losses
                     allocated to the Members pursuant to this Section 4.6(c)(ii) shall, to the extent
                     possible, be equal to the net amounts that would have been allocated to each such
                     Member pursuant to the provisions of this Section 4.6(c)(ii) if such unexpected
                     adjustments, allocations or distributions had not occurred.

                             (iii)   Member Nonrecourse Deductions. Notwithstanding anything to the
                     contrary contained in this Section 4.6, all items of loss and deduction and all
                     expenditures described in Section 705(a)(2)(8) of the Code (or treated as
                     expenditures so described pursuant to Section 1.704-1 (b)(2)(iv)(i) of the
                     Regulations) (collectively, "Member Nonrecourse Deductions") that are (in
                     accordance with the principles set forth in Section I .704-2(i)(2) of the Regulations)
                     attributable to Member Nonrecourse Debt (as such term is defined in Section I .704-
                     2(b)(4) of the Regulations) shall be allocated to the Member that bears the
                     Economic Risk of Loss pursuant to Section I .752-2(b)-U) of the Regulations for
                     such Member Nonrecourse Debt. If more than one Member bears such Economic
                     Risk of Loss, such Member Nonrecourse Deductions shall be allocated between or
                     among such Members in accordance with the ratios in which they share such
                     Economic Risk of Loss. If more than one Member bears such Economic Risk of
                     Loss for different portions of a Member Nonrecourse Debt, each such portion shall
                     be treated as a separate Member Nonrecourse Debt.

                             (iv)    Company Minimum Gain. Except to the extent provided in Sections
                     1.704-2(f)(2), (3), (4) and (5) of the Regulations, if there is, for any Fiscal Year of
                     the Company, a net decrease in Company Minimum Gain (as such term is defined
                     in Sections I .704-2(b)(2) and (d) of the Regulations, as the same may be modified
                     in the context of limited liability companies), there shall be allocated to each
                     Member, before any other allocation under this Section 4.6 is made under Section
                     704(b) of the Code of Company items for such Fiscal Year, items of income and
                     gain for such Year (and, if necessary, for subsequent years) equal to such Member' s
                     share of the net decrease in Company Minimum Gain. A Member' s share of the net
                     decrease in Company Minimum Gain is the amount of such total net decrease
                     multiplied by the Member' s percentage share of the Company Minimum Gain at
                     the end of the immediately preceding taxable year, determined in accordance with
                     Section I. 704-2(g)( I) of the Regulations. Items of income and gain to be allocated
                     under the foregoing provisions of this Section 4.6(c)(iv) shall consist first of gains
                     recognized from the disposition of items of Company property subject to one or
                     more Nonrecourse Liabilities (as defined in Section 1.704-2(b)(3) of the
                     Regulations) of the Company, and then of a pro-rata portion of the other items of
                     Company income and gain for that year.


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Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 17 of 74




                             (v)     Member Nonrecourse Debt Minimum Gain. Except to the extent
                     provided in Section l.704-2(i)(4) ofthe Regulations, ifthere is, for any Fiscal Year
                     of the Company, a net decrease in Member Nonrecourse Debt Minimum Gain (as
                     defined in Section I .704-2(i)(2) of the Regulations, as the same may be modified
                     in the context of limited liability companies), there shall be allocated to each
                     Member that has a share of Member Nonrecourse Debt Minimum Gain at the
                     beginning of such Fiscal Year before any other allocation under this Section 4.6
                     (other than an allocation required under Section 4.6(c)(iv)) is made under Section
                     704(b) of the Code of Company items for such Fiscal Year, items of income and
                     gain for such year (and, if necessary, for subsequent years) equal to such Member' s
                     share of the net decrease in the Member Nonrecourse Debt Minimum Gain. The
                     determination of a Member' s share of the net decrease in Member Nonrecourse
                     Debt Minimum Gain shall be made in a manner consistent with the principles
                     contained in Section I. 704-2(g)( 1) of the Regulations. The determination of which
                     items of income and gain to be allocated pursuant to the foregoing provisions of
                     this Section 4.6(c)(v) shall be made in a manner that is consistent with the principles
                     contained in Section l.704-2(t)(6) of the Regulations.

                             (vi)    Gross Income Allocation. If any Member has a deficit Capital
                     Account at the end of any Fiscal Year which is in excess of the sum of the amount
                     such Member is obligated to restore under this Agreement or is deemed obligated
                     to restore pursuant to the penultimate sentences of Sections l.704-2(g)( I) and l .704-
                     2(i)(5) of the Regulations, each such Member shall be specially allocated items of
                     Company income and gain in the amount of such excess as quickly as possible,
                     provided that an allocation under this Section 4.6(c)(vi) shall be made only if and
                     to the extent that such Member would have a deficit Capital Account in excess of
                     such sum after all other allocations provided for in this Section 4.6 have been made
                     as if Section 4.6(c)(ii) and this Section 4.6(c)(vi) were not in this Agreement.

                               (vii) Curative Allocations. The allocations set forth in Section 4.6(c)(i),
                     (ii), (iii), (iv), (v) and (vi) (collectively, the "Regulatory Allocations") are
                     intended to comply with certain requirements of the Regulations. It is the intent of
                     the Members that, to the extent possible, all Regulatory Allocations shall be offset
                     either with other Regulatory Allocations or with special allocations of other items
                     of Company income, gain, loss or deduction under this Section 4.6(c)(vi).
                     Therefore, notwithstanding any other provisions of this Article 4 (other than the
                     Regulatory Allocations), the Manager shall make such offsetting special allocations
                     of Company income, gain, loss or deduction in whatever manner it determines
                     appropriate so that, after such offsetting allocations are made, each Member' s
                     Capital Account balance is, to the extent possible, equal to the Capital Account
                     balance such Member would have had if the Regulatory Allocations were not part
                     of the Agreement and all Company items were allocated under Section 4.6(b).

                     (d)    Tax Allocations.




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Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 18 of 74




                                    (i)     Except as otherwise provided herein, all tax items of the Company
                            shall be allocated among the Members in the same manner as they share the
                            correlative items of Profits and Losses.

                                     (ii)   Any item of Company income, gain, loss, deduction or credit
                            attributable to property contributed to the Company, solely for tax purposes, shall
                            be allocated among the Members in accordance with the principles set forth in
                            Section 704(c) of the Code so as to take account of any variation between the
                            adjusted basis of such property to the Company for federal income tax purposes
                            and its fair market value at the time such property was contributed to the Company.

                                    (iii)    As permitted by Section l.752-3(a)(3) of the Regulations, the
                            Members hereby specify that solely for purposes of determining their respective
                            interests in the Nonrecourse Liabilities of the Company for purposes of Section 752
                            of the Code, such interests shall be equal to their respective Percentage Interests.

                                    (iv)    The Manager shall have the reasonable discretion (consistent with
                            its fiduciary duty to all Members) to deviate from the foregoing provisions of this
                            Section 4.7 to equitable allocate Profits and Losses to (i) reflect as nearly as possible
                            the actual flow of cash, and (ii) ensure Losses are utilized as fully as possible.

                    4.7     Guaranties.

                            (a)     It is acknowledged that the lender(s) to the Company and Owners may
                    require various types of guaranties from Affiliates of the Company, including but not
                    limited completion guaranties, environmental guaranties and bad-boy carve-outs
                    (collectively, the "Guaranties," and each, individually, a "Guaranty"). The Sponsor
                    agrees to cause Rishi Kapoor and Daniel Motha to serve as guarantors on the Guaranties
                    (each person executing one or more Guaranties will be a "Guarantor," and collectively
                    the "Guarantors").

                            (b)     Notwithstanding any other provision of this Agreement or the Act, it is
                    agreed that if the Company is in default under a mortgage loan secured by all or any part
                    of the Property, and as a result, one or more Guarantors incurs obligations under a Guaranty
                    in any material respect, then any one of those Guarantors (or their Affiliated Members if
                    the Guarantors are not a Member) shall have the absolute right to cause the Company to
                    either cure such default, or if such default cannot be cured by the Company, provide a deed
                    in lieu of foreclosure, consent to foreclosure, convey all assets of the Company or take
                    similar actions required to mitigate the Guarantors' exposure or loss. Notwithstanding the
                    foregoing, this Section 4.7(b) shall not apply to actions constituting fraud, bad faith, willful
                    misconduct or gross negligence by the applicable Guarantor or Guarantors or involving a
                    material breach of the Guaranty by or through the direct actions or inactions of such
                    Guarantor or Guarantors which results in liability under the Guaranty, such as failure of
                    such Guarantor or Guarantors to timely provide its financial statements to a lender (to the
                    extent required by the terms of a Guaranty). In addition, all Guarantors are entitled to
                    indemnification pursuant to Section 8.2 below for any liability they have under any
                    Guaranty.



     (W0570503 21
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 19 of 74




      4.8            Use of -           Member Funds.Notwithstanding any contrary prov1s1on in this
      Agreement, the Manager agrees that any Initial Capital or Additional Capital Contributions made
      by the -        Member shall only be used to pay items in the initial Approved Budget attached to
      this Agreement as Exhibit D and, by way of clarification and not limitation, shall not be used to
      re-pay any debt owed to any other Class B Member, Sponsor, or any Affiliate of the Sponsor, nor
      to refund any Capital Contribution made by the Sponsor or any other Class B Member; provided
      that, this Section 4.8 shall have no effect once the construction loan(s) for the following
      projects have closed 3120, 3138, 3162, 3166, and 3170 Commodore Plaza, in Miami, Florida, and
      the lender has commenced funding of construction draws for construction of the new
      improvements to be built upon 3120 and 3138 Commodore Plaza, in Miami, Florida.


                                                       ARTICLE 5
                                                     DISTRIBUTIONS

              5.1    Distributions. Subject to the repayment of all Member Loans in accordance with
      Section 4.2, the Members shall be entitled to Distributions of Distributable Cash Flow and net
      proceeds from the liquidation and winding up of the Company, in accordance with the following
      provisions:

                             (a)  Non-Liquidating Distributions. Distributable Cash Flow shall be distributed
                     to the Members at such times as determined by the Manager to be in the best interests of
                     the Company and the Members. All Distributable Cash Flow shall be distributed to the
                     Class A and Class B Members, pro rata, based on their then respective Percentage
                     Interests.

                             (b)     Liquidating Distributions. Upon a Capital Transaction or upon the
                     dissolution and liquidation of the Company, and after payment for or provision for the
                     debts and obligations of the Company and the Owners, the net proceeds from such event
                     shall be distributed to the Class A and Class B Members, pro rata, based on their then
                     respective Percentage Interests.

                         (c)     Distributions In Kind. If any proceeds available for distribution consist of
                 items other than cash as determined by the Manager, the Members shall be entitled to their
                 respective shares of each such asset, in accordance with the aggregate amount of proceed s
                 due them, respectively, under Sections 5.1 (a) or (b). In determining the Capital Accounts
                 of the Members for purposes of Section 4.5 , the amount by which the fair market value of
                 any property to be distributed in kind to the Members exceeds or is less than the tax basis
                 of such assets, to the extent not otherwise recognized by the Company, shall be taken into
                 account as if such gain or loss were recognized by the Company. A Member has no right
                 to demand and receive any distribution from the Company in a form other than cash.

                             (d)     Tax Distributions. Not later than March 15 th of each year, the Manager shall
                     use its best efforts to cause the Company to make a "Tax Distribution" to each Member
                     of an amount of cash equal to the excess of (i) the amount of such Member' s Presumed



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Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 20 of 74




                    Tax Liability (defined below) for the previous calendar year, over (ii) the amount of
                    Distributions received by the Member since March I 5th of the prior year. A Member' s
                    "Presumed Tax Liability" for any calendar year is equal to the product of (a) the highest
                    federal individual income tax rate for such calendar year times (b) the amount of Profits
                    allocated to the Member for that calendar year. If the federal income tax return for the
                    Company for a calendar year has not been prepared prior to March I 5th of the following
                    year, then the Manager shall estimate the Members ' Presumed Tax Liability in order to
                    make a timely Tax Distribution, and shall make an adjustment in future Distributions, if
                    necessary.

                           (e)     Distributions Generally.

                                   (i)     Incorrect Distributions. To the extent any Distributions pursuant to
                           this Agreement were incorrectly made, as reasonably determined by the Managers,
                           the recipients shall promptly repay all incorrect payments and the Company shall
                           have the right to set off any such incorrectly paid amount against any current or
                           future sums owing to such recipients.

                                   (ii)    Withholding. Ifrequired by the Code or by state or local law, or with
                           respect to any tax payments made by the Company in connection with any
                           composite, or similar partnership tax return filed by the Company with any State or
                           local tax authority, the Company shall withhold any required amount from
                           Distributions to a Member for payment to the appropriate taxing authority. Any
                           amount so withheld from a Member will be treated as a distribution by the
                           Company to such Member. Each Member agrees to timely file any document that
                           is required by any taxing authority in order to avoid or reduce any withholding
                           obligation that would otherwise be imposed on the Company. To the extent any
                           amount is required to be withheld with respect to a Member and paid over to an
                           appropriate taxing authority which amount is in excess of the amounts distributed
                           to such Member in respect of such withholding, the amounts paid to the taxing
                           authority in respect of such withholding shall be treated as a distribution to such
                           Member and a corresponding distribution shall be made to each other Member in
                           proportion to the Capital Account registered on the Company' s books in such
                           Member' s name. To the extent that cash is not available to make any of the
                           Distributions required under this Section 5.1(e)(ii), such distribution shall be
                           delayed and paid out of the next Distributable Cash Flow.

                                  (iii)    Compliance with OOZ Rules. For the avoidance of doubt, the
                           Manager may, in its reasonable discretion, elect to hold back one or more
                           Distributions due to the Members if it determines, after consulting with the
                           applicable Member, that such distribution (or portion thereof) would have an
                           adverse effect on the benefits available to such Member under the QOZ Rules.
                           Each Member may elect to receive any such distribution despite the Manager' s
                           determination described in this Section 5.l(e) and failure by the Manager to make
                           such distribution shall not constitute a breach of or default under this Agreement
                           by the Manager.



     {W0570503.2}
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 21 of 74




             5.2     Nonrecourse; Deficit Capital Account. Each Member shall look solely to the
      assets of the Company for the repayment of any Distributions owed to such Member by the
      Company and for any loans made by such Member to the Company and no Member shall have
      any recourse, upon dissolution or otherwi se, against any other Member for the payment thereof.
      No Member shall be obligated to return the Capital Contributions made by any other Member,
      upon dissolution or otherwise. No Member shall be obligated to restore any deficit in its Capital
      Account that may exist as of the date of the Company ' s di ssolution and liquidation.

                      5.3   Limitation Upon Distributions. No Distributions shall be made in violation of the
      Act.

                                                  ARTICLE 6
                                        RIGHTS AND DUTIES OF MEMBERS

            6. 1    Member Approval Not Required . Except as otherwise expressly set forth in this
      Agreement or as required by the Act, all decisions of the Company for itself and Owners and the
      Mezz Entity shall be made by the Manager.

              6.2     Limitations on Powers of Members. Except as expressly set forth elsewhere in
      this Agreement, no Member shall have the right, directly or indirectly, to (i) resign, retire, or
      withdraw from the Company, (ii) dissolve, terminate, or liquidate the Company, (iii) petition a
      court for the dissolution, termination, or liquidation of the Company, or (iv) cause any property of
      the Company to be subject to the authority of any court, trustee, or receiver (including suits for
      partition and Bankruptcy, insolvency, and simi lar proceedings) .

              6.3   Prohibition Against Partition. Each Member irrevocably waives any and all
      rights the Member may have to maintain an action for partition with respect to any property of the
      Company .

                  6.4       Meetings of the Members.

                             (a)     The annua l meeting of the Members shall be held in Miami-Dade County,
                      Florida at the time designated by the Manager. Special meetings of the Members, for any
                      purpose, shall be held when directed by the Manager, or when requested in writing by any
                      Member. A meeting requested by a Member shall be called for a day not less than two (2)
                      nor more than thirty (30) days after the request is made, unless such Member designates
                      a later date. The call for the meeting shall be issued by the Manager, unless a Member
                      requesting a meeting designates another person to do so. Meetings of the Members shall
                      be at the principal office of the Company or at suc h other location within Miami-Dade
                      County, Florida as the Manager selects. The Manager shall determine the order of business
                      and the procedure at the meeting, including the conduct of discussion, and shall keep a
                      record of any action taken at the meeting. At the discretion of the Manager, any meeting
                      may be held via video or voice conference call.

                             (b)    Written notice stating the place, day and hour of the meeting and the
                      purpose or purposes for wh ich the meeting is called shall be delivered not less than two
                      (2) nor more than thirty (30) days before the date of the meeting, either personally or by
                      mail, by or at the direction of the Manager or the Member calling the meeting, to each


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Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 22 of 74




                      Member entitled to vote at such meeting. When any notice is required to be given to any
                      Member, a written waiver thereof by the Person entitled to such notice, whether before or
                      after the time stated therein, shall be equivalent to the giving of such notice.

                             (c)     Any Member may participate in a meeting of the Members by means of
                      conference telephone or similar communications equipment by which all persons
                      participating in the meeting can hear and speak to one another, and participation in the
                      meeting by means of such equipment shal I constitute presence in person at such meeting.
                      Participation by communications equipment shall constitute presence at the meeting,
                      unless a Member is participating in the meeting for the express purpose of objecting to the
                      transaction of any business on the ground the meeting is not lawfully called or convened
                      and expressly states such grounds at the inception of such meeting.

                     6.5     Voting.

                              (a)    If any matter shall require a vote of the Members, then except as otherwise
                     expressly provided in this Agreement, the Members shall be entitled to vote on such matter
                     in accordance with their Percentage Interests. A Member' s right to vote shall not be
                     assigned, delegated or otherwise granted to any other Person, except that a Member shall
                     be permitted to give a proxy to another Member to vote his or her interests in his or her
                     absence, which proxy shall be in writing, signed by the Member and valid for no more than
                     thirty (30) days out of each calendar year. No Member shall be permitted to grant proxies
                     valid for more than sixty (60) days during any twelve ( 12)-month period .

                             (b)    Action required or permitted to be taken by a vote of the Members or at a
                     meeting of Members may also be taken without a vote of a meeting if the action is
                     evidenced by one or more written consents describing the action taken, signed by the
                     requisite number of Members whose vote or approval is required for such action to be
                     taken. If such a written consent is not signed by all Members, then a copy of the signed
                     consent shall be provided within a reasonable time to any Member who did not sign it.
                     Affirmation by email shall constitute a signed consent.

                            (c)      Notwithstanding anything imp Iied to the contrary in this Section 6.5 , except
                     as required by the Act and except for the rights of Class B Members to vote on a Major
                     Decision , the Non-Voting Members have absolutely no right to vote on or consent or object
                     to any Company matter.

              6.6     Limitation on Authority of Members. No Member is an agent of the Company
      solely by virtue of being a Member, and no Member has the authority to act for the Company
      solely by virtue of being a Member.

                                                ARTICLE 7
                               RIGHTS, POWERS, AND DUTIES OF THE MANAGER

                     7.1    Management and Control of Business; Appointment of Managers.




      IW0570503 2}
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 23 of 74




                             (a)     The Company shall be "manager-managed" and the Sponsor shall have the
                      exclusive right to appoint the manager and change the manager from time to time (the
                      "Manager"). Initially, the Sponsor appoints itself as the Manager.

                          (b)     Subject to the requirements of the Act, and unless expressly stated to the
                  contrary elsewhere in this Agreement, the Manager shall have the full , exclusive and
                  complete discretion, right, power, and authority to manage, control and make all decisions
                  affecting the Business, the Property, Owners, the Mezz Entity and the affairs of the
                  Company (including such decisions for Owners) and their assets. All acts of the Manager
                  within the scope of its authority and not inconsistent with this Agreement shall bind the
                  Company. The Manager shall devote such time to the affairs of the Company as may be
                  necessary, in the reasonable discretion of the Manager, for the proper performance of its
                  duties hereunder.

             7.2     Signing of Documents. The Manager shall, after obtaining the approval required
     by this Agreement, if any, have the authority, in the name and on behalf of the Company, to sign
     and deliver all contracts, agreements, leases, notes, mortgages, and other documents and
     instruments which are necessary, appropriate, or convenient for the conduct of the Company ' s
     affairs within the scope of its business. The Manager may from time to time delegate certain of the
     management and administrative duties or other functions to other Persons, including its respective
     Affiliates and employees of those Affiliates, and any officer of the Company that may be appointed
     in accordance with Section 7.4. Any Person dealing with the Company or the Manager may rely
     upon a certificate signed by the Manager as to :

                            (a)    the identity of the Manager;

                          (b)    the existence or non-existence of any fact or facts which constitute a
                  condition precedent to acts by the Manager or in any other manner germane to the affairs
                  of the Company ;

                         (c)     the Persons who have been duly authorized by the Members or the Manager
                  to execute and deliver any instrument or document of, or on behalf of, the Company ; or

                         (d)     any act or failure to act by the Company or as to any other matter whatsoever
                  involving the Company, the Manager or any Member.

             7.3     Right to Rely on Authority of Managers. No Person dealing with the Manager
     shall be required to determine the Manager' s authority to take any undertaking on behalf of the
     Company, or to determine any fact or circumstance bearing upon the existence of the Manager' s
     authority.

             7.4     Officers of Company. The Manager may, but shall not be obligated to, appoint
     one or more individuals as officers of the Company, which may consist of a president, a treasurer
     and a secretary, and such vice presidents, assistant vice presidents, assistant treasurers, assistant
     secretaries or other officers or agents. The Manager shall have the authority to remove any officer
     with or without cause at any time. Any two or more offices may be held by the same individual.
     Each officer shall act in the name of the Company and shall have such duties and responsibilities
     as may be assigned to him or her by the Manager. Each officer shall hold office until his or her


     iW057ll50l 2 1
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 24 of 74




     successor shall have been duly elected and shall have qualified or until his or her death or until he
     or she shall resign or shall have been removed by the Manager. The appointment as an officer or
     agent shall not create any contractual rights or entitlements for the individual holding such
     position.

             7.5      Compensation of the Managers and Officers; Contracting with Affiliates. The
     Manager and the officers of the Company shall be compensated by the Company and Owners. The
     Manager may, on behalf of the Company or Owners, contract with Affiliates of the Members to
     provide services to the Company or Owners. Notwithstanding the foregoing, the following fees
     payable to either the Sponsor or its designees or Affiliates are deemed reasonable, pre-approved,
     within the Sponsor' s sole discretion and do not require the consent of any other Member: (i) a
     developer ' s fee of Two Million Seven Hundred And Fifty Thousand Dollars ($2,750,000) paid pro
     rata monthly over no less than twenty four (24) months; (ii) an acquisition fee equal to Four
     Hundred Thousand Dollars ($400,000) paid at closing; (iii) a marketing fee of Two Hundred And
     Eighty Two Thousand Dollars ($282,000) paid as billed for services ; (iv) a loan guarantor fee to
     be determined on any recourse loan for acquisition, construction, and or permanent financing not
     to exceed three percent (3%) of the guaranteed amount; and (v) a property management fee of four
     percent (4%) of gross revenue.

              7.6    Removal of Manager. At a meeting called expressly for that purpose, a Manager
     may be removed, by the affirmative vote of all Members (excluding the Sponsor), but only in the
     event of any of the following (each a " Removal Action"): (i) a material breach of this Agreement
     (but expressly excluding failure to make an Additional Capital Contribution) on the part of such
     Manager ( either as a Manager or as a Member), which breach shall continue uncured for thirty
     (30) calendar days after the giving of written notice thereof to such Manager by a Member
     specifying the nature of such breach or, if more than thirty (30) days is reasonably required to cure
     such breach and if the defaulting Manager commences to cure within the original thirty (30) day
     cure period and diligently continues to cure such breach, such additional time as is reasonably
     necessary to cure the breach not to exceed an additional thirty (30) days; (ii) fraud , gross
     negligence or willful misconduct on the part of such Manager in management of the business or
     affairs of the Company ; (iii) Bankruptcy of such Manager; (iv) willful misappropriation of
     Company funds by the Manager; (v) the transfer of a Membership Interest or a direct or indirect
     ownership interest in the Manager in violation of this Agreement and which results in a declared
     default by the Company pursuant to any loan agreement or similar document by which the
     Company is bound . The removal of a Manager who is also a Member shall not affect the
     Manager' s rights as a Member and shall not constitute a withdrawal of the Manager as a Member.
     In the event that the Manager is removed, a new Manager shall be chosen by the majority vote of
     all Members. The Member affiliated with the Manager potentially being removed shall have the
     right to vote on removal and on the selection of a new Manager notwithstanding its affiliation with
     the Manager.




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Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 25 of 74




                                          ARTICLE 8
                           LIMITED LIABILITY AND INDEMNIFICATION

             8.1     Limited Liability. Except as may otherwise be required by applicable law and as
     expressly set forth in this Agreement, no Member shall have any personal liability whatsoever in
     such Member' s capacity as a Member of the Company, whether to the Company, to any other
     Member, to the creditors of the Company or to any other third party, for the debts, liabilities,
     commitments or any other obligations of the Company or for any losses of the Company, except
     to the extent such Member affirmatively obligates itself in a valid written instrument to be a
     guarantor or similar accommodation party for such debts or obligations. No Member shall be
     obligated to make Capital Contributions or any other payments to or for the benefit of the Company
     except as expressly required by this Agreement. The failure of the Company to observe any
     formalities or requirements relating to the exercise of its powers or the management of its business
     or affairs under this Agreement or the Act shall not be grounds for imposing personal liability on
     the Members for liabilities or obligations of the Company. Except as otherwise expressly required
     by law, each Member, in such Member' s capacity as such, shall have no liability in excess of (a)
     the amount of such Member's net Capital Contributions, (b) such Member's share of any assets
     and undistributed profits of the Company and (c) the amount of any distributions required by the
     Act.

              8.2     Indemnification. Subject to the limitations and conditions as provided in this
     Article 8, each Person ("lndemnitee") who is made a party or is threatened to be made a party to
     or is involved in any threatened, pending or completed claim, action, suit or proceeding, whether
     civil, criminal, administrative or arbitrative (a "Proceeding"), or any appeal in such a Proceeding
     or any inquiry or investigation that could lead to such a Proceeding, by reason of the fact that the
     lndemnitee was, at the time of the incident giving rise to the Proceeding, a Member, Manager or
     Guarantor of the Company, shall be indemnified by the Company against judgments, penalties
     (including without limitation excise and similar taxes and punitive damages, but not including
     penalties and taxes imposed on responsible persons for failure to deposit withheld taxes unless
     such responsible person acted in good faith with respect to such failure) , fines , settlements and
     reasonable expenses (including, without limitation, attorneys ' fees) actually incurred by the
     lndemnitee in connection with such Proceeding: provided that the lndemnitee acted in good faith
     and in a manner the lndemnitee reasonably believed to be in or not opposed to the best interests of
     the Company (and, with respect to any criminal action or proceeding, had no reasonable cause to
     believe the conduct in question was illegal); and, provided further, that such conduct does not
     constitute fraud , gross negligence or willful misconduct. The Company ' s indemnification
     obligations under this Article 8 shall continue as to a Person who has ceased to serve in the capacity
     that initially entitled such Person to be considered an lndemnitee. No amendment, modification or
     repeal of this Article 8 shall have the effect of limiting or denying any such rights with respect to
     actions taken or Proceedings arising prior to any amendment, modification or repeal. In the event
     of any claim with respect to which the Company is obligated to indemnify a Member, Manager or
     officer under this Section 8.2, the Indemnitee must give the Company prompt written notice of all
     such claims and tender the defense thereof to the Company, to be managed and resolved as the
     Company determines appropriate, except that no settlement thereof can constitute an admission of
     liability by the lndemnitee without such Person's written consent, which may not be unreasonably
     withheld, conditioned, denied or delayed.



     {W U570503 2:
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 26 of 74




             8.3     Advancing Expense Payments. Reasonable expenses (including reasonable legal
     fees and court costs) incurred by an Indemnitee in connection with a Proceeding, including those
     incurred in attempting to challenge, dispute or settle a claim or charge prior to the commencement
     of any formal proceedings, shall be advanced by the Company prior to the final disposition of the
     Proceeding; provided that the Indemnitee and the Company shall first enter into an agreement
     containing a commitment by the lndemnitee to immediate ly repay such amount if it shall be
     determined that the lndemnitee was not entitled to be indemnified as authorized in Section 8.2.

            8.4      Non-exclusivity of Rights . The right to indemnification and the advancement and
     payment of any reasonable expenses conferred in this Article 8 shall not be exclusive of any other
     right which a Member, Manager, officer or other Person indemnified under this Artic le 8 may have
     or hereafter acquire from any other source.

             8.5    Insurance. The Manager may cause the Company to purchase and maintain
     reasonable amounts of insurance, at the Company ' s expense, to protect any Person who is entitled
     to be indemnified under this Article 8.

            8.6     Savings Clause. If this Article 8 or any portion hereof shall be invalidated on any
     ground by any court ofcompetentjurisdiction, the indemnity obligations set forth in any appl icable
     portion of this Artic le 8 that shall not have been invalidated shall apply to the fullest extent
     permitted by applicable law.

                                   ARTICLE 9
           BOOKS OF ACCOUNT AND REPORTS; ACCESS TO RECORDS; REPORTING
                                 REQUIREMENTS

              9.1     Books and Records . The Manager shall keep, or cause to be kept, at the principal
     office of the Company, true and correct books of account, in which shall be entered fully and
     accurately each and every transaction of the Company. Such books and records shall be maintained
     in accordance with sound usual business practices. Each Member or its designated agent shall have
     acc·e ss at any time to inspect the Company ' s books of account at any time and for any purpose,
     and all other information concerning the Company and to make copies thereof at such Member' s
     expense.

             9.2     Banking. A ll funds of the Company shall be deposited in.its name in such federally
     insured commercial banks or in such federally insured saving and loan account or accounts, in
     such U.S . Treasury obl igations, or in such bank certificates of deposit, as the Manager selects. All
     funds of the Company shall only be used for Company purposes as provided in this Agreement
     and in accordance with the terms hereof. A ll Capital Contributions, advances and loans made to
     the Company by the Members, and all other receipts, refunds and payments to or credits for the
     benefit of the Company whatsoever, shall be deposited into the Company ' s accounts. All checks
     written on said account will be signed by duly authorized agents designated by the Manager.

             9.3     Reporting Requirements. The Manager shall cause the Company to provide the
     Members within one hundred twenty ( 120) days after the end of each Fiscal Year, and within forty-
     five (45) days after each calendar quarter, an internal financial report, which shall include a balance




     {W05 70503 2}
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 27 of 74




      sheet dated as of the end of such period and the related statements of operations and changes in
      financial position for the period then ended.

              9.4     Appointment of Partnership Representative. The Sponsor shall have the sole
      authority to act on behalf of the Company as the " Partnership Representative" under subchapter C
      of Chapter 65 of subtitle A of the Code or in such other operative role as set forth by the Code
      ("Partnership Representative"). The Partnership Representative shall keep the Members
      informed of all administrative and judicial proceedings and shall furnish to each Member that
      requests in writing, a copy of each notice or other communications received by the Partnership
      Representative from the IRS. The Partnership Representative shall make a timely election provided
      by Section 6226 of the Code with respect to any notice of final partnership adjustment and each
      Member agrees to take such Member's adjustment into account in accordance with the provisions
      of Section 6226 of the Code. All references in this section to the Code are as amended by the
      Bipartisan Budget Act of2015. All costs and expenses incurred by the Partnership Representative
      in the performance of its duties and privileges set forth in this Section 9.4 shall be borne by the
      Company .

             9.5     Member Returns. Each Member shall file tax returns consistent with the
      partnership tax characterization of the Company.

                                                 ARTICLE 10
                                                 TRANSFERS

             10.1 No Right to Transfer. Each Member agrees that it will not, directly or indirectly
     and whether by operation of law or otherwise, Transfer all or any part of its Membership Interest
     without the Manager' s written approval, not to be unreasonably withheld, conditioned or delayed.
     Any Transfer of direct or indirect majority ownership or effective control over a Member shall be
     treated as a Transfer of a Membership Interest under this section. Any Transfer or attempt to
     Transfer in violation of this Section I 0.1 shall be null and void and of no force or effect whatsoever.
     Each Member acknowledges that access to capital, market knowledge and reputation are material
     to the business and purposes of the Company, and that an unauthorized Transfer of Membership
     Interests could create a substantial hardship for the other Member and the Company. The Members
     agree that the restrictions upon Transfer are not intended as a penalty, but as a method to protect
     and preserve the relationship of the Members and to protect the Company ' s ability to continue to
     operate in the manner contemplated by the Members. Each Member acknowledges the
     reasonableness of the restrictions on Transfer imposed by this Agreement in view of the Company
     purposes and the relationship of the Members. Accordingly, the restrictions on Transfer contained
     in this Section I 0.1 shall be specifically enforceable, without any requirement to post a bond or
     other security. Each Member further agrees to hold the Company and each Member (and each
     Member' s successors and assigns) wholly and completely harmless from any cost, liability, or
     damage (including, without limitation, liabilities for income taxes and costs of enforcing this
     indemnity) incurred by any of such indemnified Persons as a result of a Transfer or an attempted
     Transfer in violation of this Agreement. Without in any way limiting the foregoing, in the event
     of a Transfer in violation of this Section, all voting rights appurtenant to any Transferred
     Membership Interest shall be suspended until such time as the Transferred Membership Interest is
     once again owned by a Member who is a party to this Agreement or a permitted transferee under
     this Agreement. Notwithstanding any contrary provision herein, any Transfer of Membership



      {W05705U3.2}
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 28 of 74




     Interests held by URBIN, LLC which would result in URBIN, LLC holding less than thirty-five
     (35%) percent of all outstanding Percentage Interests in the Company must be approved by an
     affirmative vote of Members holding at least seventy (70%) percent of all outstanding
     Percentage Interests in the Company.



                     10.2   Permitted Transfers to Certain Affiliates.

                         (a)      Notwithstanding Section I 0.1 , a Member shall have the right to voluntarily
               Transfer its Membership Interests, without the Manager' s approval, if such transfer is (i)
               pursuant to a good faith plan designed to accomplish legitimate tax planning, estate planning
               or asset protection goals and to an Affiliate of the transferring Member and those individuals
               with control over the Member prior to the Transfer have control over the transferee after the
               Transfer, or (ii) to one or more of the other Members or an Affiliate of a Member.

                         (b)    Notwithstanding the foregoing, no Transfer shall be permitted if: (i) the
               effect thereof would be to cause the termination of the Company for income tax purposes or
               violate any covenants to which the Company or the Owners are bound; or (ii) such Transfer
               would prevent any Member from qualifying under the QOZ Rules or would be reasonably
               expected to result in a failure to comply with QOZ Compliance Requirements.

                         (c)    As a further condition of any such Transfer, any such permitted Transferee
               shall sign a counterpart of this Agreement and affirmatively agree to be bound by the terms
               and conditions hereof. Any Transfer of an Interest permitted under this Agreement shall
               entitle the Transferee to be only an "assignee" within the meaning of the Act, and such
               Transferee shall have none of the rights and privileges of a Member under this Agreement or
               the Act, and shall have no right to participate in any Member votes. The Transferee may
               become a substituted member of the Company with respect to the Interest only with the
               Manager' s approval and after satisfying such other terms and conditions as may be
               established by the Manager.

                         (d)     Transfer of direct or indirect majority ownership or control of a Member
               shall be treated as transfer of a Membership Interest under this section.

                                              ARTICLE 11
                                 CORPORATE OPPORTUNITIES; DISSOLUTION

              11.1 Corporate Opportunities. Because the Company's business is limited to the
     Property and the Business, it is agreed that the Company has no other business opportunities. It is
     further agreed that any Member or Manager is free to pursue any other business opportunities that
     arise, even if they compete with the Property or the Business.

                     11.2   Dissolution.

                            (a)    The Company shall be dissolved only upon the occurrence of any of the
                     following events:




     {W U570503 21
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 29 of 74




                                   (i)    the sale, transfer or other disposition of all or substantially all of the
                           assets of the Company;

                                   (ii)   at any time there are no Members; provided, however, the Company
                           will not be dissolved if one or more successor Members are admitted into the
                           Company within the time period and according to the other terms provided in the
                           Act for continuing the Company in such an event; or

                                   (iii)   judicial dissolution in accordance with the Act.

                            (b)     Notwithstanding the dissolution of the Company, prior to the complete
                    winding up and termination of the Company' s existence, the business of the Company and
                    the affairs of the Members shall continue to be governed by this Agreement in order to
                    wind-up and liquidate the Company 's business and affairs in compliance with the Act.

                    11.3   Winding Up, Liquidation and Distribution of Assets.

                           (a)     A Person selected by the Manager shall wind-up the Company' s affairs (a
                    "Liquidating Trustee").

                             (b)    Upon dissolution, an accounting shall be made of the Company's assets,
                    liabilities and operations, from the date of the last previous accounting until the date of
                    dissolution. The Liquidating Trustee shall immediately proceed to wind-up the affairs of
                    the Company.

                           (c)    If the Company is dissolved and its affairs are to be wound up, the
                    Liquidating Trustee shall:

                                   (i)    sell or otherwise liquidate all of the Company ' s assets as promptly
                           as practicable (except to the extent the Manager may determine to distribute any
                           assets to the Members in kind) ;

                                   (ii)  allocate any Profit or Loss resulting from such sales to the Members'
                           Capital Accounts in accordance with the provisions of this Agreement;

                                   (iii)  discharge all liabilities of the Company, including liabilities to
                           Members who are creditors of the Company to the extent permitted by law, and
                           establish any necessary Reserves; and

                                  (iv)      distribute the remaining assets to the Members in accordance with
                           Section 5.1 (b).

                     (d)    Notwithstanding anything to the contrary in this Agreement, if any Member
     has a deficit balance in its Capital Account (after giving effect to all contributions, distributions,
     allocations and other Capital Account adjustments for all taxable years, including the year during
     which such liquidation occurs), such Member shall have no obligation to make any Capital
     Contribution, and the deficit balance shall not be considered a debt owed by such Member to the
     Company or to any other Person for any purpose whatsoever.


     {W0570503 2}
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 30 of 74




                            (e)     Upo n completion of the winding up, liquidation and distribution of the
                    assets of the Company, the Company shall be deemed terminated.

                             (f)   The Liquidating Trustee shall comply with all requirements of applicable
                    law pertaining to the winding up of the affairs of the Company and the final distribution of
                    its assets.

             11.4 Articles of Dissolution; Post Dissolution Actions. Articles of Dissolution shall be
     executed by one or more authorized Persons as provided by the Act, and filed with the Department
     of State of Florida, at such time the Liquidating Trustee determines is required under the Act. The
     Liquidating Trustee shall have authority to distribute any Company property discovered after
     dissolution, convey real estate and take such other action as may be necessary on behalf of and in
     the name of the Company, in the manner provided in the Act.

             11.5 Other Company Obligations; Non recourse to Other Members. Each Member
     shall look solely to the assets of the Company for payments due under this Agreement upon the
     dissolution and liquidation of the Company, including fees and other compensation payable by the
     Company hereunder. If the Company property remaining after the payment or discharge of the
     debts and liabilities of the Company is insufficient to make such payments, the Members so
     affected shall have no recourse against any other Member.

                                                    ARTICLE 12
                                                  MISCELLANEOUS

            12.1 Successor Agencies, Laws . Any reference in this Agreement, by name or number,
     to a governmental department, agency, statute, law, regulation, program or forum shall include
     any successor or similar department, agency, statute, regulation, program or forum .

              12.2 Notices. All notices, demands or other communications to be given or delivered
     under or by reason of this Agreement shall be in writing and shall be deemed to have been given
     when delivered personally to the recipient, or when sent to the recipient by reputable overnight
     courier service with a reliable delivery tracking system (charges prepaid). Such notices, demands
     and other communications shall be sent to the Company at its principal offices, and to each
     Member at the address set forth in Exhibit A for such Member or such other address as such
     Member or the Company may hereafter specify by notice to the others delivered in accordance
     with the provisions of this Section 12.2. All approva ls under this Agreement shall be given in
     writing.

              12.3 Governing Law. All questions concerning the internal affairs of the Company, the
     liabilities and obligations of the Members and Manager, the construction, validity, and
     interpretation of this Agreement, and the performance of the obligations imposed by this
     Agreement, shall in each case be governed by the Act and any other applicable substantive laws
     of the State of Florida, without regard to any of its choice of law provisions to the contrary.

            12.4 Successors. Except as herein otherwise specifically provided, this Agreement shall
     be binding upon and inure to the benefit of the parties hereto and their heirs, personal
     representatives, successors and assigns.



     {W057050l 21
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 31 of 74




              12.5 Usage. Wherever from the context it appears appropriate, each term stated in either
      the singular or the plural shall include the singular and the plural, and pronouns stated in either the
      masculine, the feminine or the neuter gender shall include the masculine, feminine and neuter.

              12.6 Captions Not Part of Agreement. Captions contained in this Agreement are
      inserted only as a matter of convenience and in no way define, limit or extend the scope or intent
      of this Agreement or any provisions hereof.

              12.7 Severability. If any provision of this Agreement or the application of such
      provision to any Person or circumstances shall be held invalid, the remainder of the Agreement,
      or the application of such provision to Persons or circumstances other than those to which it is held
      invalid, shall not be affected thereby.

              12.8 Counterparts. This Agreement may be executed in several counterparts (including
      by means of electronic signature pages), each of which shall be deemed an original and all of which
      shall constitute one and the same instrument.

             12.9 Exhibits. All exhibits attached to this Agreement and referred to herein are hereby
      incorporated by reference as if fully set forth herein.

              12.10 Entire Agreement and Amendment. This Agreement constitutes the entire
      agreement among the parties pertaining to the subject matter hereof and supersedes all prior
      agreements and understandings pertaining thereto. No covenant, representation or condition not
      expressed in this Agreement shall affect or be deemed to interpret, change or restrict the expressed
      provisions hereof. This Agreement constitutes the sole and exclusive "operating agreement" of the
      Company for purposes of the Act. The Manager shall have the right to make non-material
      amendments this Agreement without Member consent in order to implement the reasonable
      requirements of a lender, provided that such amendments do not materially or adversely impact
      the rights of the Members, but all other amendments must be approved by all Members .

              12.11 Further Assurances. Each Member shall execute and deliver all certificates and
      other documents and shall do all such filing, recording, publishing and other acts as the Manager
      deems appropriate to comply with the requirements of law for the formation and operation of the
      Company and to comply with any laws, rules, and regulations relating to the acquisition, operation,
      or holding of the property of the Company. Each Member shall execute and deliver any and all
      such other and additional instruments and documents and do any and all such other acts and things
      as may be reasonably necessary or expedient to more fully effectuate this Agreement and carry on
      the business contemplated hereunder.

              12.12 No Third-Party Rights. Except as expressly provided in this Agreement, the
      provisions of this Agreement are for the exclusive benefit of the Compan'y and the Members, and
      no other Person (including, without limitation, any creditor of the Company) shall have any right
      or claim against the Company or any Member by reason of those provisions or be entitled to
      enforce any of those provisions against the Company or any Member.

             12.13 Construction . The parties have participated jointly in the negotiation on drafting
      this Agreement. In the event an ambiguity or question of intent or interpretation arises, this
      Agreement shall be construed as if drafted jointly by the parties and no presumption or burden of


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Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 32 of 74




     proof shall arise favoring or disfavoring any party by virtue of the authorship of any of the
     provisions of this Agreement. There shall be no presumption that this Agreement was drafted by
     or on behalf of any one Member and, therefore, ambiguities shall not be construed against any
     particular Member.

             12.14 Waivers. No failure by any party to insist upon the strict performance, duty,
     agreement, or condition hereof or to exercise any right or remedy upon breach thereof shall
     constitute a waiver of any such breach of such or any other covenant, agreement, term or condition.
     Any party hereto, by notice pursuant to this Agreement, may, but shall be under no obligation to,
     waive any of its rights or any conditions to its obligations hereunder, or any duty, obligation or
     covenant with any other party. No waiver shall affect or alter the remainder of this Agreement but
     each and every covenant, agreement, term and condition hereof shall continue in full force and
     effect with respect to any other then existing or subsequent breach.

            12.15 Authority. Each Person signing this Agreement in the capacity as an agent of a
     business organization or other entity represents to the others and to the Company that he or she,
     and such organization and entity, has been duly authorized to execute and deliver this Agreement
     by and through such signing Person.

             12.16 Litigation. In the event of Litigation, the parties (a) agree that suit must be
     exclusively brought in the federal or state court courts situated in Miami-Dade County, Florida;
     (b) irrevocably and unconditionally consent to the exclusive jurisdiction of each such court in any
     such suit, action or proceeding ; (c) waive any objection which any party may have to the laying of
     venue of any such suit, action or proceeding in any of such courts; (d) agree that service of any
     court paper may be effected on a party by mail, as provided in Section 12.2 hereof, or in such other
     manner as may be provided under applicable laws or court rules; (e) AGREE THAT THERE
     SHALL BE NO RIGHT TO AND NO PARTY SHALL MAKE DEMAND FOR TRIAL BY
     JURY, ALL RIGHTS THERETO BEING IRREVOCABLY WAIVED BY THE PARTIES ; (f)
     recognize that irreparable injury will result from a breach of any provision of this Agreement and
     that money damages may not be an adequate remedy, as a result of which, the parties agree that
     the court shall liberally grant injunctive relief and specific performance where appropriate and
     hereby waive any right they may have to seek or require the moving party to post a bond or
     security; and (g) agree that Prevailing Party Attorney ' s Fees shall be awarded by the court against
     all non-prevailing parties. In no event shall any Member initiate Litigation against the Company
     or the Manager or any of the Manager's Affiliates without first making a demand upon all Persons
     it intends to join as parties to such Litigation to participate in non-binding mediation before a
     Person certified in such mediation under Florida law. All parties to this Agreement agree to
     participate in any such mediation, if and when demanded, on a prompt basis and in good faith,
     failing which, the Person refusing to do so shall be precluded from asserting any claim or defense
     in the Litigation.

            12.17 Legal Counsel. Legal counsel for a Member or one of its Affiliates may be selected
     by the Manager to represent the Company in connection with future matters. Each Member
     recognizes and acknowledges that any such counsel will be acting as legal counsel for the
     Company with respect to each such matter and not acting as the legal counsel of any individual
     Members. Each Member acknowledges that in the event of any future dispute or litigation between
     or among the Members and/or between any of the Members and the Company, such counsel may


     {W057050l2}
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 33 of 74




      continue to represent its Member client, notwithstanding any such dispute and its representation
      of the Company.

               12.18 Additional Members. As a condition precedent to any Person being admitted as a
      substitute, additional or successor Member of the Company, the Person must execute a counterpart
      to this Agreement (as amended) in form acceptable to the Manager and agree to be bound by all
      of the terms and provisions hereof; provided, however, that no such counterpart shall be binding
      until the provisions of Article I 0, as applicable, shall have been satisfied.

               12.19 Confidentiality. Except as required in the normal conduct of a Member' s or
      Manager' s business or by law or court process, no Member or Manager, without the written
      approval of the other Members, during continuance of the Company or after its termination shall
      at any time during the term of this Agreement or thereafter divulge to any person not a Member or
      Manager, other than its attorneys, accountants, employees and professional advisers, any
      information concerning the business of the Company or the content of this Agreement or any other
      contract or agreement entered into by the Company. A Member or Manager may, however,
      disclose to third parties the existence of the Company and the names of the Members.

             12.20 Accredited Investor, KYC and Related Representations. All Non-Voting
      Members hereby represent that they are an "accredited investor," as defined in Rule 50 I (a) of
      Regulation D promulgated under the Securities Act, and further represent the following, all of
      which may also be specifically relied upon by any lender to the Company:

             (a)    Such Member is acquiring its Membership Units for its own account for, and for
      investment purposes only and not with a view to or for sale in connection with any distribution of
      such Membership Units ;

             (b)      Such Member understands that the Membership Units have not been registered
     under any federal and state securities laws, in part based on representations made by such Member,
     and such Membership Unit cannot be resold, transferred or otherwise disposed of unless it is
     registered as required by federal law and all applicable state laws, or an exemption from
     registration is available therefrom ;

            (c)     Such Member understands that the Company is not obligated to register the
     Membership Units for resale under the Securities Act or applicable federal or state securities laws
     and that the Company is not obligated to supply such Member with information or assistance in
     complying with any exemption under the Securities Act or applicable federal or state securities
     Laws;

             (d)    Such Member, by reason of its business or financial experience, has the capacity to
     protect its own interest in connection with the transaction and to evaluate the merits and risks of
     the proposed investment;

             (e)    Such Member (i) has received all information that such Member deems necessary
     to make an informed investment decision with respect to an investment in Membership Units; (ii)
     has had the unrestricted opportunity to make such investigation as such member desires pertaining
     to the Company and an investment in Membership Units and to verify any information furnished



      IW0570503.21
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 34 of 74




     to such Member; and (iii) has had the opportunity to ask questions of representatives of the
     Company concerning the Company and such Membership Units;

            (f)     Such Member is financially able to bear the economic risk of the investment in
     Membership Units for an indefinite period of time and has no need for liquidity in this investment.
     Furthermore, the financial capacity of such Member is of such a proportion that the total costs of
     such Member's investment in Membership Units is not material when compared with such
     Member's total financial capacity; and

             (g)       Such Member acknowledges that the Company is not registered as an investment
     company under the Investment Company Act. Therefore, such Member represents and warrants as
     follows : (i) it has provided and will continue to provide the Manager with any and all information
     the Manager requested to assist the Manager in determining the number of beneficial owners of
     such Member' s Membership Units; (ii) shareholders, members, and other holders of equity or
     beneficial interests in such Member, if applicable, are not able to individually decide whether to
     participate or the extent of their participation in such Member's investment in the Company (i.e .,
     such shareholders, members, and other holders of equity or beneficial interests cannot determine
     whether their capital will form part of the capital invested by such Member in the Company); (iii)
     if such Member is Controlled by or under common Control with any other member or believes that
     such a relationship exists, such Member has identified or will inform the Manager of such
     relationship; (iv) such Member is not exempt from registration as an investment company pursuant
     to Sections 3(c)(I) or 3(c)(7) of the Investment Company Act; and (v) if any Person will have a
     beneficial interest in the Membership Units to be acquired hereunder other than such Member
     (other than as shareholder, member, or other holder of equity or beneficial interests therein), such
     Member has provided or will provide to the Manager any and all information the Manager requests
     relating to the owner of such beneficial interest.

           (h)     Neither the applicable Member nor any of its investors, subsidiaries, affiliates,
     owners, shareholders, partners, members, indemnitors, guarantors or related persons or entities:

                      I)   is a Sanctioned Person (as defined below) ;
                      2)   has more than fifteen percent ( 15%) of its assets in Sanctioned Countries (as
                           defined below) ; or
                      3)   derives more than fifteen percent ( 15%) of its operating income from
                           investments m, or transactions with Sanctioned Persons or Sanctioned
                           Countries.

              For purposes of the foregoing , a " Sanctioned Person" shall mean (i) a person named on the
     list of " specially designated nationals" or "blocked persons" maintained by the U.S. Office of
     Foreign Assets Control ("OF AC") at http://www.treasury.gov/resource-center/sanctions/SDN-
     List/Pages/default.aspx, or as otherwise published from time to time, or (ii) an agency of the
     government of a Sanctioned Country, an organization controlled by a Sanctioned Country, or a
     person residing in a Sanctioned Country, to the extent subject to a sanctions program administered
     by OF AC. A " Sanctioned Country" shall mean a country subject to a sanctions program identified
     on the list maintained by OF AC and available at http://www.treasury.gov/resource-
     center/sanctions/SDN-List/Pages/default.aspx, or as otherwise published from time to time.




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Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 35 of 74




              (i)    In addition to the foregoing representations, upon the request of any financial
     institution with which the Company or its Affiliates are seeking to establish a banking relationship
     of any kind, the applicable Member agrees to promptly provide identification and all other
     information reasonably related to such institution's "know your customer" policies

           IN WITNESS WHEREOF, the undersigned Members have executed this Operating
     Agreement of URBIN Coconut Grove Partners, LLC:

                                          [signatures on next page]




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Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 36 of 74




                       [signature page for Operating Agreement of URB!N Coconut Grove Partners, LLC]




       COMPANY:

       URBIN Coconut Grove Partners, LLC:

          URB fN, LLC:




              Name:        Rish i Kapoor
              Title:       Manager



       SPONSOR:


        URBIN,LLC:



        By: _ ~
        Name:            Rishi Kapoor
        Title:           Manager




        NON-VOTING MEMBER:




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Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 37 of 74




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       COMPANY:

       URBIN    oconut Grove Partners, LL

        URBfN , LL :



          By: - - - - - - - - - - -
            ame:
          Tit Ie:-----------
               - - - - - - - -- --



       URBLN, LLC:




       By: - - - - - - - - --
         ame: ___________
       Title :
           - - - -- - - - - - -
       NON-VOTING MEMBER:
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 38 of 74




                     [signatull page for Operating Agreement of URBJN Coconut Grove Partners. UC]



     COMPANY:

      URBIN Coconut Grove Partnen, LLC:

        URBIN,LLC:



            By: _ _ _ _ _ __ _ _ __
            Name: - - - - - - - - - -
            Title: _ _ _ _ _ _ _ _ __


      SPONSOR:


      URBIN,LLC:



      By: _ _ _ _ _ _ _ _ _ __
      Name:
                     ----------
      Title: - - - - - - - - - -


      NON-VOTING MEMBER:




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Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 39 of 74




              [signature page for Operating Agreement of URBIN Coconut Grove Partners, LLC]




      COMPANY:

      Urbin Coconut Grove Partners, LLC:

        Urbin, LLC:




         By:-----------
         Name: - - - - - - - - - - -
         Title: - - - - - - - - - - -


      SPONSOR:


      Urbin, LLC:



      B y : - - - -- - - - - - -
      Name: - - - - -- - - - -
      Title: - - - - - - - - - -


      NON-VOTING MEMBER:
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 40 of 74




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               COMPA Y:

                rbin Coconut Grove Partners, LLC:

                 Urbin. LLC:



                  By: _ _ _ _ __ __ _
                    ame: _ _ __ __ __ _ _
                  Title:
                           ----------
               SPONSOR:


               Urbin, LLC:



                By: _ _ _ _ _ _ _ __
               Name: _ _ __ _ _ __ __
               Title: _ _ _ _ _ __ _ __
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 41 of 74




               [signature page for Operating Agreement of URBIN Coconut Grove Partners, LLC]




       COMPANY:

      Urbin Coconut Grove Partners, LLC:

        Urbin, LLC:



          By:-----------
          Name: - - - - - - - - - - -
          Title: - - - - - - - - - - -


       SPONSOR:


       Urbin, LLC:



       By: - --   ---------
       Name : _ _ _ _ _ _ _ _ _ __
       Title: - - - - - - - - - - -
   Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 42 of 74
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                        [signature page f or Operating Agreement of URBIN Coconut Grove Partners, LLC]




              COMPANY:

              Urbin Coconut Grove Partners, LLC:

                Urbin, LLC:




                  By : - - - - - - - - -- -
                  Name:
                           -----------
                  Tit Ie: - - - - - - - - -- -


              SPONSOR:


              Urb in, LLC :



              By: _ _ _ _ _ _ _ _ __
              Name: - - - - - - - - - - -
              Tit Ie:
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 43 of 74




                                                  EXHIBIT A

                                             Schedule of Members
                                           (as of the Effective Date)



           Name/Address of Member          Initial Capital ($US)    Membership Units   Percentage Interest




       Urbin , LLC
       299 Alhambra Circle, Suite 510
       Coral Gables, FL 33 134                 $4,200,000               4,200,000             35%
       Email : rkapoor@location.ventures




                                               $4,300,000               4,300,000           35 .833 %




                                                $500,000                500,000              4.67%




                                                $300,000                300,000               2.5%




                                                $250,000                250 ,000            2.083%




                                                                                             3.75%
                                                $450,000                450,000
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 44 of 74




      CWL-CH LLC
      2881 S. Bayshore Drive, #98
                                     $300,000         300,000           2.5%
      Miami , FL 33133
      Email : cliftlosh@gmail.com




                                                                       9.167%
                                    $1 , I 00,000    1,100,000




      -                              $600,000        600,000
                                                                        5%
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 45 of 74




                                          EXHIBIT B- DEFINITIONS

             The following terms used in this Agreement shall have the following meanings (unless
      otherwise expressly provided in this Agreement), with the understanding that the Agreement may
      contain defined terms that are not included in the below list:

              "Act" means the Revised Limited Liability Company Act, Florida Statutes, Chapter 605 ,
      as the same may be amended.

              "Affiliate" means as to any Person, any other Person that is in Control of, is Controlled by,
      or is under common Control with such Person and/or is a Managers, officer or director of such
      Person or of an Affiliate of such Person, and/or is related by blood, adoption or marriage to any
      such Person or is a trust for the benefit only of one or more of such relatives.

             "Agreement" means the Operating Agreement to which this Exhibit is attached, as the
      Operating Agreement may be amended from time to time.

             "Approved Budget" refers to any budget for the Company or its subsidiaries that has been
      approved as a Major Decision or otherwise amended by the Manager as permitted pursuant to this
      Agreement. The initial Approved Budget is attached to this Agreement as Exhibit D.

               "Bankruptcy" means with respect to any Person: (a) an assignment by such Person for the
      benefit of creditors or an admission in writing by such Person of an inability to pay its debts
      generally as they become due: (b) the entry of an order, judgment or decree adjudicating such
      Person bankrupt or insolvent; (c) the petition or application by such Person to any tribunal for the
      appointment of a custodian, trustee, receiver or liquidator of such Person or of any substantial part
      of its assets; (d) the commencement of any proceeding (or the entry of any order for relief) with
      respect to such Person or its debts under any bankruptcy, reorganization, arrangement, insolvency,
      readjustment of debt, dissolution or liquidation law of any jurisdiction; or (e) the filing of any such
      petition or application or the commencement of any such proceeding against such Person and
      either (i) such Person by any act indicates its approva l thereof, consent thereto or acquiescence
      therein or (ii) such petition, application or proceeding is not dismissed within sixty (60) days.

                 "Business" has the meaning set forth in Section 2. 1.

           "Capital Account" means the amount calculated and maintained by the Company for each
      Member pursuant to Section 4.1.

             "Capital Contribution" means any contributi ons made to the capital of the Company
      pursuant to Article 4 by the Members or any class of Members or any one Member, as the case
      may be (or the predecessor holders of the Interests of such Members).

              "Capital Transaction" means any transaction not in the ord inary course of business wh ich
      results in the Company ' s receipt of cash or other cons ideration (other than Capital Contributions
      or Member Loans or loan proceeds intended for a specific purpose, as determined by the Manager),
      including, without limitation, proceeds of sales or exchanges or other dispositions of property not
      in the ordinary course of business, financings , refinancings, condemnations, recoveries of damage
      awards, and insurance proceeds.


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Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 46 of 74




                     "C lass A Member" is a Member that owns Class A Membership Units.

                     "C lass B Member" is a Member that owns Class B Membership Units.

                     "Class A Membership Units" have the meaning set forth in Section 3.1.

                     "Class B Membership Units" have the meaning set forth in Section 3. 1.

              "Code" shal l mean the Internal Revenue Code of 1986, as amended and as it may be
     further amended from time to time, together with the Regulations promulgated thereunder.

            "Company" has the meaning given in the heading to this Agreement. A copy of the current
     organizational chart of the Company is attached hereto as Exhibit F.

                     "Company Minimum Gain" has the meaning set forth in Section 4.6(c)(iv) .

                     "Contributing Member" has the meaning set forth in Section 4.2( d).

             "Control" and its derivatives means the possession, directly or indirectly, of the power to
     direct or cause the direction of management, policies or activities of any Person, whether through
     ownership of voting securities, by contract or otherwise.

                     "Defaulting Member" has the meaning set forth in Section 4.2(d) .

                     "Deficiency Loan" has the meaning set forth in Section 4.2(d) .

             "Distributable Cash Flow" means, for any specified period, an amount equal to the gross
     cash receipts of the Company from a ll sources whatsoever, less all operating expenses,
     expenditures and other payments in cash actua lly made by the Company during such period
     (including debt service for and repayment of Member Loans), and less any Reserves set aside by
     the Company in such period. Gross cash receipts shall include cash released during such period
     from any previously estab lished Reserves during such period. The determination of what is
     available as Distributable Cash Flow shall be made by the Manager.

                     "Distributions" refers to any payments to Members pursuant to Sections 5.1 (a-d).

                     "Effective Date" has the meaning set forth in the heading of this Agreement.

           "Fiscal Year" means the calendar year or such other annual accounting period se lected by
     the Manager for use by the Company.

                     "G uaranties" has the meaning set forth in Section 4.7(a).

                 "Guarantor" has the meaning set forth in Section 4.7(a).

                 "Guaranty" has the meaning set forth in Section 4.7(a).

                 "lndemnitee" has the meaning set forth in Section 8.2.




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Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 47 of 74




                     "Initial Capital" has the meaning set forth in Section 4. 1.

             "IRR" means internal rate ofreturn and shall be computed in accordance with the " XIRR
      Function" of Microsoft Excel. In computing IRR, principal funded and interest received on
      Member Loans shall be disregarded .

                     "Liq uidating Trustee" has the meaning set forth in Section 11.3.

             "Litigation" means any civil proceeding that arises out of this Agreement, is related to this
      Agreement, or is related to the rights or obligations of any party or parties to this Agreement in
      connection with matters related to the Company or the Act.

              "Losses" means, with respect to any fiscal period of the Company, the net losses of the
      Company for such period for federal income tax purposes, including, as appropriate, each item of
      income, loss, deduction or credit entering into such determination, and including treating as
      deductions items of expenditures defined in Section 705(a)(2)(B) of the Code (or which are treated
      as Section 705(a)(2)(B) expenditures under Regulation Section I. 704-1 (b )(2)(iv)(i)).

      "Major Decisions" refers to any decision by the Company to take any of the following acts, all
      of which acts shall require Member Approval:

                     (i)     materially expand the Business of the Company;

                     (ii)    pay any fees or other compensation to any Affiliate of the Sponsor, other than those
                             fees and reimbursements expressly approved in this Agreement;

                     (iii)   engage in a sale of all or substantially all of the Company' s assets or a transaction
                             that involves a sale of substantially all of the equity interests in the Company; or

             (iv)   take any action or make any election that would be reasonably likely to prevent the
      Company from qualifying as a QOZB or would prevent a QOF Member (or its direct or indirect
      owners) from achieving the benefits of the QOZ Rules.

              (v)    Acquire any real or personal property or interest therein on behalf of the Company
      other than the Property, Commodore Plaza real estate already under contract as of the Effective
      Date and any personal property in the ordinary course of business.

             (vi)   Borrow money, issue ev idences of indebtedness, or grant any mortgages or other
      encumbrances on or security interests in the assets of the Company, including without limitation,
      any financing or refinancing of the Property or any portion thereof, or modify, extend, renew,
      change, or prepay in whole or in part any borrowing, financing, or refinancing, or make any
      commitments to borrow funds or give any consideration to obtain a commitment for the loan of
      funds.

              (vii)  Enter into or amend, modify, or terminate any agreement pertaining to the sale,
      conveyance, exchange, or other transfer of any assets of the Company, or sell, convey, exchange,
      or otherwise transfer any assets of the Company, including, without limitation, all or any portion



      (W0570503 21
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 48 of 74




     of the Property or any interest therein, other than non-material transfers of personal, tangible, or
     intangible property in the ordinary course of business.

            (viii) Enter into or amend, modify, or terminate any contract for the construction,
     development, improvement, or rehabilitation of the Property, unless with respect to any new
     contract or modification of an existing contract, no Member Approval is needed because there is
     no change to any Approved Budget that requires Member Approval.

            (ix)    Make a payment on any Member Loan or a distribution of any Distributable Cash
     Flow or distribute proceeds from a Capital Transaction to Members which, in any case, is
     inconsistent with the current Approved Budget or otherwise in contravention of this Agreement.

             (x)     Establish and Approved Budget or deviate from any Approved Budget; provided
     that, deviations from an Approved Budget will not be a Major Decision if: (i) they are collectively
     less than ten percent (10%) of Approved Budget, or (ii) they consist of allocating savings on any
     one line item to other items of Approved Budget.

             (xi)    Institution of any legal proceedings in the name of Owners, the settlement of any
     legal proceedings against Owners, or the confession of any judgment against Owners or any
     property of Owners to the extent that: (i) such legal proceedings are not in the ordinary course of
     business for Owners ; (ii) either Member reasonably believes that such legal proceedings may have
     a material adverse effect upon the reputation of the Company or such Member; or (iii) the amount
     in controversy, or sought by Owners or the plaintiff, is at least one hundred thousand ($100,000.00)
     Dollars.

            (xii)   Make decisions or take other actions relating to litigation or tax-related matters not
     included in an Approved Operating Budget; provided that undertaking the defense ofany litigation
     matter which is fully insured (other than a deductible) with a claim of less than One Hundred
     Thousand Dollars ($100,000.00) shall not be a Major Decision .

             (xiii) Establish, increase, replenish, or decrease the amount of reserves held by the
     Company, except in accordance with the applicable Budget unless required by law or pursuant to
     the terms of any financing approved by the Members.

             (xiv) Permit the Transfer of any Member's interest in the Company or admit any
     additional Members, except for Transfers perm itt d under Article I 0.

                    (xv)   Dissolve the Company .

            (xvi) Effect a merger, conversion, consolidation, or other reorganization of the Company
     or Owners or modify or amend this Agreement, any operating agreement, by-laws, articles of
     organization, or other governance documents .

             (xvii) Initiate any so called "buy/sell" or "forced sale" provision under any agreement
     (other than this Agreement) to which the Company or Owners is a party or commit on behalf of
     the Company or Owners to acquire any partnership or membership interest owned by a third party.




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Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 49 of 74




             (xviii) File any voluntary petition for the Company or Owners under the United States
      Code, the Bankruptcy Act, or seek the protection of any other Federal or State bankruptcy or
      insolvency law or debtor relief statute.

             (xix) Guaranty the payment of any money, or debt of another Person, or guaranty the
      performance of any other obligation of another Person.

           (xx)   Agree to any material change to accounting and related matters material to the
      Company or Owners or any material changes to accounting practices or policies.

                      (xxi)   The appointment or designation of a new Sponsor.
                      (xxii) Do any act in contravention of this Agreement.

                      "Manager" has the meaning set forth in Section 7.1.

             "Member Approval" refers to approval by Members holding at least seventy (70%)
      percent of all outstanding Percentage Interests in the Company.

             "Members" means all Persons admitted to the Company as a Member as provided herein,
      so long as they remain Members.

                      "Member Loan" has the meaning set forth in Section 4.2(a) .

                      "Member Non recourse Deductions" has the meaning set forth in Section 4.6(c)(iii).

              "Membership Interest" means a Member' s entire interest in the Company, together with
      the (i) right to inspect the Company' s books and records and (ii) the right to participate in the
      management of the business and affairs of the Company, including the right to vote on, consent
      to, or otherwise participate in any decision or action of or by the Members that may granted
      pursuant to this Agreement (and the Act to the extent such voting rights are required by the Act) .
      In the case of each Member holding a Membership Interest, the quantum of such Member' s
      Membership Interest relative to all other Members holding Membership Interests, including for
      purposes of voting and otherwise providing Member Approval hereunder, shall be equivalent to
      the Percentage Interest assigned to such Member in accordance with this Agreement.

             "Membership Unit" refers to a single unit of equity in the Company. As of the Effective
      Date, the Members own the number of Membership Units reflected on Exhibit A to this
      Agreement.

                  "Mezz Entity" has the meaning set forth in Section 2.1 .

                  "Nonrecourse Liabilities" has the meaning set forth in Section 4.6(c)(iv).

             "Non-Voting Members" refers to the Members that own Class B Membership Interests,
      but no Class A Membership Interests. As a matter of clarification, if a Member owns both Class
      Band Class A Membership Units, it is a Non-Voting Member only as to the Class B Membership
      Units.



      IW115705Ul 2}
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 50 of 74




                  "Owners" has the meaning set forth in Section 2. 1.

                  "Percentage Interest" has the meaning set forth in Section 3.3.

                  "Partnership Representative" has the meaning set forth in Section 9.4.

             "Person" means any individual, general partnership, limited partnership, limited liability
      partnership, limited liability company, limited liability limited partnership, corporation, joint
      venture, business trust, real estate investment trust, common law trust, or other trust, business trust,
      cooperative, association, foreign trust, foreign business organization or other enterprise (which
      term includes employee benefit plans), and their heirs, personal and legal representatives,
      successors and assigns where the context so permits.

                  "Preemptive Rights" has the meaning set forth in Section 3.4.

               "Prevailing Party Attorney's Fees" refers to the right of a prevailing party in Litigation
      to recover from the non-prevailing parties in such Litigation all "Attorneys' Fees" and all "Costs"
      actually incurred at all levels of litigation and in all courts, whether for pre-litigation, litigation,
      mediation, settlement discussions, investigation of facts and law and in all courts, including post-
      judgment, bankruptcy and those incurred establishing an entitlement to or the amount of
      Attorneys' Fees or Costs to which the prevailing party is entitled . All Attorneys' Fees and Costs
      actually incurred by the prevailing party (and the hourly rates charged) shall be deemed reasonable
      absent clear and convincing evidence to the contrary presented by the party opposing any award.
      There shall be no reduction in the award for Attorneys' Fees incurred for (i) office conferences
      involving multiple attorneys (it being recognized that such conferences are necessary to coordinate
      positions taken in litigation), (ii) timesheet descriptions that are lacking in specificity, unless the
      descriptions are so vague that they cannot reasonably be determined to have been incurred in
      connection with the litigation (it being recognized that attorney billing practices are not always
      sufficiently specific to allow someone to understand exactly what was being done years later), or
      (iii) travel time (in being recognized that attorneys must travel to attend court, depositions,
      mediation and the like). In connection with the foregoing, (a) "Attorneys ' Fees" shall include all
      attorneys, paralegals, law clerks and overtime charges for non-professional staff, and (ii) "Costs"
      shall include all charges for court reporters, transcripts, expert witnesses (testifying and
      consulting), travel, parking and other charges typically imposed by attorneys on their clients, none
      of which shall be limited by any uniform guidelines.

                  "Proceeding" has the meaning set forth in Section 8.2.

              "Profits" means, with respect to any fiscal period of the Company, the net profits of the
      Company for such period for federal income tax purposes including, as appropriate, each item of
      income, gain, loss, deduction or credit entering into such determination, as determined by the
      regular accountants of the Company and including income exempt from tax as described in Section
      705(a)(l)(B) of the Code.

                  "Property" has the meaning set forth in Section 2.1.

                  "QOF" has the meaning set forth in the Recitals hereto.



      { W0570503 21
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 51 of 74




                        "QOZ" means a "qualified opportu nity zone" as defined in Section l 400Z- l (a) of the
      Code.

                        "QOZ Compliance Requirements" shall have the meaning specified in Section 2.5(a).

             "QOZ Regulations" means (i) the proposed Regulations (REG-115420-18) issued by the
      IRS and United States Department of the Treasury on Oct. 19, 2018; (ii) the proposed Regulations
      (REG-120186-18) issued by the IRS and the United States Department of Treasury on April 17,
      2019, and (iii) the final Regulations (RIN l 545-BP04) issued by the IRS and the United States
      Department of the Treasury on December 19, 2019, in each case, under Section l 400Z-2 of the
      Code.

             "QOZ Rules" shall mean Sections l 400Z- l and l 400Z-2 of the Code, and any QOZ
      Regulations promulgated thereunder, including for the avoidance of doubt the final regulations
      (TD 9889) issued on December 19, 20 I 9.

                        "QOZB" has the meaning set forth in the Recitals hereto.

                        "QOZPI" has the meaning set forth in the Recitals hereto.

              "Regulations" means the Treasury Regulations promulgated under the Code as such
      regulations may be amended from time to time (including the corresponding provisions of
      succeeding regulations).

                        "Regulatory Allocations" has the meaning set forth in Section 4.6(c)(vii).

             "Reserves" means payments made or amounts reasonably allocated by the Manager for
      working capital consistent with any then budget or the ordinary course of the Company and the
      Owners' business, and to pay taxes, insurance, debt service, repairs, replacements or renewals,
      warranties, or other costs and expenses, incident to the ownership, management and operation of
      the Company and such other reasonable reserves as the Manager shall deem appropriate, including
      without limitation amounts allocated to future contingent expenditures as reasonably determined
      by the Manager.

              "Transfer" means, when used as a noun, any voluntary or involuntary sale, hypothecation,
      pledge, mortgage, encumbrance, assignment, attachment, or other transfer, or otherwise disposed
      of, and when used as a verb, means voluntarily to sell, hypothecate, pledge, mortgage, assign,
      attach, or otherwise transfer, or otherwise dispose of. "Transferred," "Transferring," "Transferor"
      and "Transferee" shall have meanings corresponding thereto.

                    "Uncontrollable Capital Contribution" has the meaning set forth in Section 4.2(b).

                    "Working Capital Reserve" has the meaning set forth in Section 2.5(b).

                        '-        Member" refers to _            , a Class B Member.




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Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 52 of 74




                                     EXHIBIT C - THE PROPERTY

        •   3138 Commodore Plaza - Folio 0 1-4121-047-0130
        •   3120 Commodore Plaza - Folio 0 1-41 21-047-0120
        •   3166 Commodore Plaza - Folio 0 1-41 2 1-047-0070 (currently under contract)
        •   3170 Commodore Plaza - Folio 0 1-41 2 1-04 7-0060 (currently under contract)
        •   Condominium Property
               o Units IC, 11, I J, I K, 3A, 3B, 3C, 3D, 4A , SA, 6E, 4B, 4C, 4D, 4E, 4F, 4G, 4H , SB, SC,
                   SE, SF, 6A, 6C, 6D, 6F, 6H and SD in the Commodore Centre Condominium
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 53 of 74




                       EXHIBIT D - INITIAL APPROVED BUDGET
                      Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 54 of 74




Development Budget                                           Gross Square Footage (GSF)                29,842
Live Site 1                                                  Rentable SF (RSF)                         23,490
URBIN Coconut Grove                                          Bedrooms/Ext. Stay Suites                  62.00
Miami, FL 33133                                              Project Length (Years)
                                  Items                                  Variables                   PerGSF          Total
Total Land Purchase Price                                    $                            88.72 $      274.78    $     8,200,000
Acquisition Fee                                                                           2.00% $        5.50    $       164,000
Ground Lease (Through Development)
Marketing & Renders                                                                       1.25% $        1.56    $           46 ,627
Builders Risk                                                                             1.00% $        1.25    $           37 ,302
Flood Insurance
General Liability Insurance                                                               1.00% $        1.25    $        37,302
Hard Cost (Blended parking/living area)                      $                           125.00 $      125.00    $     3,730,190
Sustainability Program                                                                           $       6.70    $       200,000
Hard Cost Contingency                                                                    10.00% $       12.50    $       373,019
Soft Cost Contingency                                                                     5.00% $        3.70    $       110,522
Sales Office I Model                                                                             $        -      $              -
FF&E (Common ; Units; Pool Area)                                                                 $      16.69    $       498,000
Developer Administration ; Project Mgt                                                           $      23.46    $       700,000
Impact Fees                                                                                      $       3.35    $       100,000
Water & Sewer Fees                                                                               $       3.35    $       100,000
Architect; MEP & Structural Engineering                                                   4.00% $       10.72    $       320,000
Home Technology & Lighting Design                                                                $       1.68    $        50 ,000
Landscape Architect                                                                              $       0.66    $        19,800
Interior Designer                                                                                $       5.03    $       150,000
Civil Engineer                                                                                   $       1.01    $        30 ,000
Appraisal - Loans                                                                                $       0.34    $        10,000
Real Estate Taxes (until construction complete)                                           2.00% $        8.79    $       262 ,400
Phase 1 Environmental                                                                            $       0.17    $         5,000
Phase 2 Environmental                                                                            $        -
Soils                                                                                            $        -
Surveys (Acquisition)                                                                            $       0.34    $           10,000
Surveys (Construction)                                                                           $       1.01    $           30,000
Septic Tank - Pumpout HRS                                                                        $        -
Inspections & Testing (Third Parties + Construction Admin)                                       $       7.44    $       222,000
Permits (City of Miami Process)                                                                  $       2.51    $        75,000
Permit Runner                                                                                    $       0.17    $         5,000
Accounting I Audits                                                                              $        -      $              -
Miscellaneous I Admin                                                                            $       0.17    $         5,000
Utilities (through development)                                                                  $       0.84    $        25,000
Purchase Title & Recording                                                                1.50 % $       4.12    $       123,000
Loan Origination Fee/Exit Fee                                                             1.75% $       15.60    $       465,495
Legal Acquisition & Loan Closing                                                          0.30% $        1.33    $        39 ,804
Construction Loan Interest                                                                8.00% $       35.09    $     1,047,279
Debt Fund Interest (In lieu of equity)                                                   15.00% $         -      $              -
Acquisition Loan Interest (then rolled up)                                               10.00% $       47.17    $     1,407,552
Purchaser Interest Reserve                                                                       $      11 .90   $       354,990
Total Cost                                                                                      $      635.16    $    18,954,281
                        Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 55 of 74



Development Budget                                                  Gross Square Footage (GSF)     48,931
Residential Site                                                    Rentable SF (RSF)              26,930
URBIN Coconut Grove                                                 Bedrooms                        50.00
Miami, FL 33133                                                     Project Length (Years)         2.00
                           Items                                            Variables           PerGSF          Total
Total Land Purchase Price (+ GF Purchase Price+ Pm!. m Liew of Rent)* $                  51 .63 $ 97.52     $    4,772 ,000
Acquisition Fee                                                                          2.00% $   1.95     $       95,440
Ground Lease (Through Development)
Marketing & Renders                                                                      1.25% $     1.88   $       91 ,746
Builders Risk                                                                            1.00% $     1.50   $       73,397
Flood Insurance
General Liability Insurance                                                              1.00% $    1.50    $       73,397
Hard Cost                                                             $                 150.00 $ 150.00     $    7,339,698
Sustainability Program                                                                          $    -      $          -
Hard Cost Contingency                                                                   10.00% $ 15.00      $      733,970
Soft Cost Contingency                                                                    5.00% $    2.70    $      132,189
Sales Office / Model                                                                            $    -      $          -
FF&E (Common ; Units; Pool Area)                                                                $ 12.77     $      625 ,000
Developer Administration ; Project Mg!                                                          $ 20.44     $    1,000 ,000
Impact Fees (Coconut Grove Fee?)                                                                $   2.55    $      125,000
Water & Sewer Fees                                                                              $   2.04    $      100,000
Architect ; MEP & Structural Engineering                                                        $   6.54    $      320 ,000
Home. Technology & Lighting Design                                                              $   2.35    $      115,000
Landscape Architect                                                                             $   0.40    $       19,800
Interior Designer (Gym + Common Areas + Pool Deck)                                              $   1.53    $       75 ,000
Civil Engineer                                                                                  $   0.72    $       35 ,000
Appraisal - Loans                                                                               $   0.20    $       10,000
Real Estate Taxes (until construction comp lete)                                         2.00% $    2.42    $      118,447
Phase 1 Environmental                                                                           $   0.10    $        5,000
Phase 2 Environmental                                                                           $    -      $          -
Soils                                                                                           $    -      $          -
Surveys (Acquisition)                                                                           $   0.20    $       10,000
Surveys (Construction)                                                                          $   0.61    $       30,000
Septic Tank - Pumpout HRS                                                                       $    -      $          -
Inspections & Testing (Third Parties+ Construction Admin)                                       $   4.54    $     222 ,000
Permits (City of Miami Process)                                                                 $   3.07    $     150,000
Permit Runner                                                                                   $   1.02    $      50 ,000
Accounting / Audits                                                                             $   0.41    $      20 ,000
Miscellaneous / Admin                                                                           $    -      $          -
Utilities (through development)                                                                 $    -      $          -
Purchase Title & Recording                                                               1.50% $    1.46    $       71 ,580
Loan Origination Fee                                                                     1.75 % $   7.12    $      348 ,585
Legal Acquisition & Loan Closing                                                         0.75 % $   1.94    $       95 ,069
Construction Loan Interest                                                               8.00% $ 15.94      $      780 ,126
Debt Fund Interest (In lieu of equity)                                                  15.00% $     -      $          -
Acquisition Loan Interest (then rolled up)                                              10.00% $    2.35    $      114,800
Purchaser Interest Reserve                                                                      $   7.28    $      356 ,048
Total Cost                                                                                      $ 370.08    $   18,108,292
                     Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 56 of 74



Development Budget                             Gross Square Footage (GSF)                      125,320
Office Site                                    Rentable SF (RSF)                                68,179
URBIN Coconut Grove                            Desks                                            874.00
Miami, FL 33133                                Project Length (Years)                               3.00
                      Items                                 Variables                      PerGSF              Total
Total Land Purchase Price                        $                            85 .38 $           85 .38    $    10,700 ,000
Acquisition Fee                                                               2.00% $             1.71     $       214,000
Ground Lease (Through Development)                                                     $         13.79     $     1,728,182
Marketing & Renders                                                           1.25% $             2.69     $       336,798
Builders Risk                                                                 1.00% $             2.15     $       269,438
Flood Insurance                                                                        $            -      $              -
General Liability Insurance                                                  1.00% $              2.15     $       269,438
Hard Cost                                        $                          215 .00 $           215 .00    $   26 ,943,800
Sustainability Program                                                                 $          7.98     $    1,000,000
Hard Cost Contingency                                                       10.00% $             21 .50    $    2,694,380
Soft Cost Contingency                                                        5.00% $              2.59     $       324,945
Leasing Office / Model                                                                 $            -      $              -
FF&E (Common ; Units; Pool Area)                 $                      500 ,000 .00   $         19.95     $     2,500 ,000
Developer Administration ; Project Mgt                                                 $         19.95     $     2,500,000
Impact Fees                                                                            $          1.99     $       250,000
Water & Sewer Fees                                                                     $          1.99     $       250,000
Architect; MEP & Structural Engineering                                       4.00%    $          9.78     $     1,225,527
Home Technology & Lighting Design                                                      $          0.40     $        50,000
Landscape Architect                                                                    $          0.16     $        20,000
Interior Designer                                                                      $          1.60     $       200 ,000
Civil Engineer                                                                         $          0.16     $        20 ,000
Appraisal - Loans                                                                      $          0.08     $        10,000
Real Estate Taxes (until construction comp lete)                              2.00%    $          4.35     $       545 ,700
Phase 1 Environmental                                                                  $          0.04     $         5,000
Phase 2 Environmental                                                                  $            -      $            -
Soils                                                                                  $            -      $              -
Surveys (Acquisition)                                                                  $          0.04     $            5,000
Surveys (Construction)                                                                 $          0.08     $           10,000
Septic Tank - Pumpout HRS                                                              $            -      $              -
Inspections & Testing (Third Parties+ Construction Admin)                              $          1.97     $       247,000
Permits (City of Miami Process)                                                        $          1.99     $       250 ,000
Permit Runner                                                                          $          0.04     $         5,000
Accounting / Audits                                                                    $          0.24     $        30,000
Miscellaneous / Admin                                                                  $          0.24     $        30,000
Utilities (through development)                                                        $          1.60     $       200,000
Purchase Title & Recording                                                   1.50%     $          1.28     $       160,500
Loan Origination Fee/Exit Fee                                                1.75%     $         11 .09    $     1,389 ,812
Legal Acquisition & Loan Closing                                             0.30%     $          1.03     $       129,280
Construction Loan Interest                                                   8.00%     $         24.60     $     3,082 ,519
Debt Fund Interest (In lieu of equity)                                      15.00%     $            -      $              -
Acquisition Loan Interest (then rolled up)                                  10.00%     $        21 .66     $    2,714,469
Purchaser Interest Reserve                                                             $         9.98      $    1,250,896
Total Cost                                                                             $       491.24      $   61,561,683
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 57 of 74




                            EXHIBIT E - WCSH SCHEDULE
                                     Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 58 of 74




LIVE SITE 1




ACQUISITION LOAN ORIGINATION FEE                                              $100,62 5
ACQUISITION LOAN INTEREST                                                   $1,407,SS2                  $56,302    $56,302    $56,302     $56,302                                        $56,302     $56,302     $56,302      $56,302
CONSTRUCTION LOAN ORIGINATION FEE/ EXIT FEE                                   $364,870                       so         $0          $0          $0                                            so          $0           $0    $232, 190
CONSTRUCTION LOAN INTEREST                                    $ 1,047,279   $ 1,047,279                      $0         $0          $0          so          $0                                $0          $0           $0           so
DEBT FUND INTEREST (J N LIEU OF EQUITYI                               so             so
PURCHASER INTEREST RE SERVE                                     $3 ~,990      $354,990            $0         $0         so          $0          so          $0         $0         $0          $0          so           $0     $ 19,722

ACQUISITION / lANO PURCHASE                                   $8,58 1,804   $8,581,804     $7,7a3,070        So         $0          $0          $0          $0         $0         so          $0          $0    $798,734            $0
LAN O PURCHASE                                                $8,200,000    $8,200,000     $7,450,000        so         so          $0          so          so         so         so          $0          so    $750,000            so
ACQUISITION FEE                                                 $ 164,000     $ 164,000      $149,000        so         $0          $0          $0          $0         so         so          so          $0     $ 1S,OOO           so
PURCHASE TITLE & RECORDING                                      $ 123,000     $ 123,000     $ 111,750        $0         $0          so          $0          $0         so         $0          so          so     $ 11,2 50          $0
LEGAL ACQUISITION & LOAN CLOSING                                 $39,804       $39,804       $22,350         $0         $0          $0          so          $0         so         so          $0          so     $ 17,454           $0
ACQUISITION DUE DILIGENCE COSTS                                  $55,000       $55,000       $49,970         so         so          $0          so          $0         so         so          so          so      $5,030            so
GROUND LEASE (TH ROUGH DEVELOPMENT)                                   so             so           $0         so         so          so          so          so         $0         so          so          so           so           $0

HARO COST                                                     $4,103,209    $4, 103,209           $0         so         $0          $0          $0          $0         $0         $0          $0          $0           so     $23,333
HARD COST                                                     $3,730, 190   $3,730, 190           so         so         so          so          so          so         so         so          so          so           so      $2 ,6 10
HARD COST CONTINGENCY ( 10%)                                    $373,0 19     $373,019            so         so         so          $0          $0          so         $0         $0          so          $0           $0     $20,723

SOFT COST                                                     $2,993,953    $2,993,953      $618,284    $22,236    $23,569    $23,569     $30,979     $30,979     $42,439    $42,439    $109,314    $109,314    $104,604     $200,284
ARCHITECT, MEP & STRUCTURAL ENGINEERING                         $320,000      $120,000      $192 ,000    $4,571     $4,571     $4,57 1     $4,571      $4,571      $4,571     54,571      $4, 571     $4,571      $4,5 71      $4,571
HOME TECHNOLOGY & LI GHTING DESIGN                               $50,000        $50,CXXl           $0        $0         $0          so          so          so         so         so          so           $0          so          $0
LANDSCAPE ARCHITECT                                              $19,800        $ 19,800          so         so          $0         so         $0           $0     $3,960     $3 ,960     $3,960      $3 ,960         $0            so
INTERIOR DESIGNER jGYM + COMMON AREAS+ POOL DECK)               $150,000      $150,000            so         so          $0         $0         $0           $0     $7,500     $7,500      $7,500      $7,500      $7,500       $7,500
CIVIL ENGINEER                                                   $30,000       $30,000        $6,000         so     $1 ,333    $1,3 33     $1,333      $ 1,333     $1,333     $ 1,333     $ 1,333     $1,333      S1,333       $1,333
INSPECTIONS & TESTING (THIR D PARTIES + CONSTRUCTION AOMIN)     $222,000      S222,000       sss,soo         so          $0         so     $6,660      56,660      $6,660     $6,660      $6,660      $6,660      56,660       $6,660
SOILS                                                                  $0            so           so
PERMITS                                                          575,000        $75,000       $7,SOO         so         $0          $0          so          so         $0         so     $ 16,875    $ 16,875    $ 16,875     $ 16,875
PERMIT RUNNER                                                      $5,000        S5,000         $SOD         so         so          so       $750        S7SO        S7S0      S7SO          $7S0        S7SO          so          $0
IMPACT FEES                                                     $ 100,000     $100,000            so         so         $0          so         $0          $0          so         so     $25,CXX)    S25,CXXl    $25,000      $25,000
WATE R & SEWER FEES                                             $ 100,000     $ 100,000           so         so         so           $0         $0          so         so         $0     $25,000     $25,000     $25,CXX)     $25,000
FF&E (COMMON; UNITS; POOL AREA)                                 $498,000      $498,000            $0         so         so           $0         so          so         so         $0           $0         so           $0           so
DEVELOPER ADMINISTRATION; PROJECT MGT                           $700,000      $700,CXX)     $272,222    $ 15,278   $15,278    $ 15,278    $ 15,278    $ 15,278    $15,278    $15,278     $15,278     $ 15,278    $15,278      $15,278
MARKETING & RENDERS                                               $46,627       $46,627       $4,663      $1,499    $1,499      $ 1,499     $ 1,499     $ 1,499    $ 1,499    $1,499      $ 1,499     $1,499      $ 1,499      $ 1,499
SEPTIC TANK - PUMPOUT HRS                                             so             so           $0         $0         $0           $0         so          so         so         $0          so          $0           $0           so
ACCOU NTING / AUDITS                                                  $0             so           $0         so         $0          so          so          $0         $0         $0          $0          $0           $0           so
M ISCELLANEOUS/ ADMI N                                            $5,000         $5,000            so        so         $0          $0          $0          so         so         $0          so          $0           so           $0
UTILITIES {THROUGH DEVE LOPMENT)                                 $25,000        $2 5,000          $0         so         so          so          so          so         $0         $0          so          so           $0           $0
SUSTAJNABIUTY PROGRAM                                           S200,000       $200,000           $0         so         $0          $0          so          $0         $0         $0          so          $0           so           so
SALES OFFICE / MODEL                                                  $0             so           $0         $0         so          so          so          so         so         $0          so          $0           so           so
BUILDERS RISK                                                    $37,302        S37,302           $0         so         so          $0          $0          so         $0         So          so          $0           so      $2,D72
FLOOD INSURANCE                                                       so             $0           $0         $0         so          so          so          $0         $0         so          so          so           so           so
GENERAL LI ABILITY INSURANCE                                     $37,302        $37,302      $12,433       $888       $888       $888        $888        $888        $888       $888        $888        $888        $888        $888
RE AL ESTATE TAXES (UNTIL CONSTRUCTION COM PLETE)               $2 62,400      $262,400      $87,467         $0         $0          so          so          so         so         so          so          $0           $0     $87,467
SOFT COST CONTINGENCY                                           $110,522       $ 110,522           so        so         $0          so          $0          $0         $0         $0          so          $0           $0      $6, 140

TOTAL CONSTRUCTION COSTS - PRE-INTEREST RE SERVE & FEES       $15,678,966   $ 15,678,966   $8,421,354   $22,236    $23,569    $23,569     $30,979     $30,979     $42,439    $42,439    $109,314    $109,314    $903,339     $221,617




TOTAL CONSTRUCTION COSTS                                      $18,9S4,281   $18,954,281    $9,310,201   $78,538    $79,872    $79,872     $87,282     $87,282     $98,742    $98,742    $16S,617    $165,617    $959,641     $531,830
                            Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 59 of 74




      so                                                            so                                                                                        so                                               so
      so                                   so                       so                                     so                        so                       so                                   so    $132 ,680
 $40,380     $41,372     $42,478      $43,828     $45,632      $48, 139    $51,53 1     $55,783      $60,586      $65,412      $69,748      $73,872      $77, 125    $79,761     $81,97 1     $83,908     $85,752

 $ 19,722    $19,722     $19,722      $19,722     $19,722      $19,722     $19,722      $19,722      $19,722      $19,722      $19,72:Z     $ 19,722     $19,722     $ 19,722    $19,722      $19,722     $19,722

      $0          $0           $0          $0           $0          $0           $0           $0           $0           $0           $0           $0          $0          $0           $0          $0          so
      so          so           $0          $0           so          so           so           $0           so           $0           so           so          so          so           $0          so          so
      so          so           so          so           so          $0           so           so           so           so           $0           so          so          so           so          $0          $0
      so          so           so          $0           so          so           so           so           $0           so           $0           so          so          so           so          so          so
      so          $0           so          so           so          so           so           so           $0           so           so           so          so          $0           so          so          so
      so          so           so          so           $0          so           $0           so           so           so           so           $0          so          so           so          so          $0
      so          so           $0          $0           $0          so           so           $0           so           $0           so           so          so          so           so          so          $0

 $29,345     $45,254     $80,828     $147,556    $251,228     $381 ,517   $507,102     $585,441     $585,441     $507, 102    $381,517     $251,228     $147,556     $80,828     $45,254      $29,345     $23,333
  $8,622     $24,530     $60, 105    $126,833    $230,505     $360,793    $486,379     $564,718     $564,718     $486, 379    $360,793     $230,505     $126,833     $60, 105    $2 4, 530     $8,622      $2,610
 $20,723     $20,7Z3     $20,723      $20,723     $20,723      $20,723     $20,723      $20,723      $20,723      $20,723      $20,723      $20,723      $20,723     520,723     $20,723      $20,723     $20,723

 $59,471     $59,471     $59,471      $59,471     $59,471      $59,471     $59,471      $59,471      $58,138      $58, 138    $147,585     $143,118     $151, 138   $151,138    $143,638     $143 ,638   $143,638
  $4.~71      $4,57 1     $4,57 1      S4,S7 1     $4,S71       $4,57 1     $4,57 1      $4,571       $4,57 1      $4,571       $4,571       $4,571       $4,S7 1     $4,571      $4,571       $4,57 1     54,S71
      $0          so           so          so           so          so           so           $0           so           so           so           so     $10,000     $ 10,000    $10,000      $10,000     $10,000
      $0          so           so          so          $0           $0           so           $0           so           so      $ 1,980      S 1,980          so          so           so          so          $0
  $7,500      $7,500      $7, 500      $7,500      $7,500       $7,500      $7,500       S7,!',00     $7,500       S7,!'>00     $7,500       S7,!'>00     $7,500      $7,500           so          so          so
  S1,333      $1,333      $ 1, 333     $1,333      $1,3ll       $1,333      $1,333       Sl.3ll           $0            $0           $0           so          so          so           so          $0          so
  $6,660      $6,660      S6,660       $6,660      $6,660       $6,660      $6,660       $6,660       $6,660       $6,660       $6,660       $6,660       $6,660      S6,660      $6,660       $6,660      $6,660

      so          so           so          $0           so          so           so           so           $0           so           $0           so          so          so           so          $0          so
      so          so           so          so           so          so           50           so           $0           so           so           so          so          so           so          $0          so
      so          so           so          so           $0          so           so           so           so           so           so           so          so          $0           so          so          so
      so          so           so          so           $0          so           so           so           so           so           so           so          so          so           so          so          so
      $0          so           so          so           so          so           so           $0           so          $0            so     $83,000      $83,000     $83 ,000    $83,000      $83,000     $83,000
 $15,278     $15,278     $15,278      $ 15,278    $ 15,278     $ 15,278    $15,278      $ 15,278     $ 15,278     $15,278      $ 15,278     $15,278      $15,278     $15,278     $ 15,278     S 15,278    $ 15,278
  S1,499      $ 1,499     $1,499       $ 1,499     $ 1,499      S1 ,499     $ 1,499      S 1,499      $1,499       S1,499        $ 1,499     S1,499       $ 1,499     $ 1,499     $ 1,499      $1,499      S1,499
      $0          so           so          so           $0          $0           so           so           $0           so           so           so          $0          so           $0          so          so
      so          so           so          $0           $0          $0           so           so           so           so           $0           so          so          so           so          so          so
     S294        $294       S294         $294         $294         S294       $294         S294         S294         $294         S294         $294          $294        $294        $294        S294        S294
  S1,471      $ 1,471     $ 1,471      S1,47 1     S1,471       $ 1,471     $ 1,47 1     St ,47 1     $ 1,47 1     $ 1,47 1     $ 1,471      $ 1,47 1      $1,471     $ 1,471     $ 1,471      $1,471      $ 1,471
 $ 11,765    $11,765     $11 ,765     $11,765     $ 11 ,765    S 11,765    $11,765      S11,765      $11,765      $11,765      S11,765      $11,765      $ 11,765    $ 11,765    S 11,765     $11,765     $ 11,765
      so          so           so          $0           so          so           $0           so           so           so           so           so           $0         so           so          so           $0
  $2,072      $2,072      $2 ,072      $2,072      $2 ,072      $2,072      $2 ,072      $2,072       $2,072       $2,072       $2,072       $2,072       $2,072      $2 ,072     $2,072       $2,072      $2,072
      so          so           so          so           $0          so           $0           so           so           so           so           so           $0         so           so          so          so
    $888        $888        $888         $888        $888         $888        $888         $888         $888         $888          $888        $888          $888       $888        $888         $888        $888
      so          so           $0          so           so          so           so           so           so           $0     $8 7,467           so          so          $0           so          so          so
  $6, 140     $6, 140     $6, 140      $6, 140     $6, 140      $6, 140     $6, 140      $6, 140      $6, 140      $6, 140      $6, 140      $6, 140      $6, 140     $6, 140     $6, 140      $6, 140     $6, 140

 $88,816    $104,725    $140,300     $207,028    $310,699     $440,988    $566,573     $644,913     $643,579     $565,240     $529, 101    $394,346     $298,694    $231,966    $188,892     $172,983    $166,971




$148,918    $165,819    $202,499     $270,577    $376,053     $508,848    $637,826     $720,418     $723,887     $650,374     $618,571     $487,939     $395,541    $331,449    $290,584     $276,613    $405,12S
                                        Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 60 of 74




LIVE SITE 2




ACQUISITION LOAN ORIGINATION FEE                                                                             so                                         so         so                                            so
ACQUISITION LOAN INTEREST                                      $114,800       S114,800                       so         So         so                   so         so         so                                 so         so                   $19,133    $19,133
CONSTRUCTION LOAN ORIGINATION FEE/EXIT FEE                     $348,585       $348,585                       so         so         so        so         so         so         so         so          so          so         so             so         so         so
CONSTRUCTION LOAN INTEREST                                     $780,126       $780, 126                      so         so         so        so         so         $0         so         so          so          so         so             so         so         $0
DEBT FUND INTEREST (IN UEU OF EQUITY)                                 $0             so
PURCHASER INTEREST RESERVE                                     $356,048       $356,048                       so         so         so        so         so         so         so         so          so          so         so        $4,726      $5,268     55,815


ACQUISITION / LAN O PURCHASE                                  $5,089,019    $5,089,089     $262, llO   $140,760    $10,200    $ 10,200   $10,200   $ 10,200   $ 10,200   $ 10,200   $10,200    $ 10, 200   $ 10,200    $ 10,200   $4, 58 4,149        $0         so
LAND PURCHASE                                                 $4,772,000    $4, 772,000    $234,000    $138,000    $10,000    $10,000    $10,000   $10,000    $10,000    $10,000    $10,000    $10,000      $10,000    $10,000    54, 300,000         so         so
ACQUISITION FEE                                                  $95,440       $95,440       $4,680      $2, 760     $200        $200      $200       $200       5200       $200       $200       $200         S200       S200       $86,000          so         so
PURCHASE TITLE & RECORDING                                       $71,580       $71, 580          so          so         so         so        so         so         so         So         so          so          so         so       $71, 580         so         so
LEGAL ACQUISITION & LOAN CLOSING                                 $95,069       $95,069       $8, 500         so         so         so        so         so         so         so         so          so          so         so       $86,569          so         so
ACQUISITION DUE DILIGENCE COSTS                                  SSS,000       SSS,000      S15,000          so         so         so        so         so         so         so         so          so          so         so       540,000          so         so
GROUND LEASE (THROUGH DEVELOPMENT)                                    $0             so          so          so         so         so        so         so         $0         so         so          so          so         so             so         so         so
HARO COST                                                     $1,073,668    $8,073, 668          $0          $0         so         so         so        $0         $0         $0         so          so          so         so             so         $0         so
HARO COST                                                     $7,339,698    $7,339,698           so          so         so         so        so         so         so         so         so          so          so         so             so         so         so
HARD COST CONTINGENCY (10%)                                    $733,970       $733,970           so          so         so         so        so         so         so         so         so          so          so         so             so         so         so

SOFT COST                                                     $3,345,977    $3, 34S,977    $124,120     $40,417    $40,417    $40,417    $40,417   $40,417    $Sl,277    $60,999    $60,999    $64,058      $99, 580   $60,098       $61,664     $64,664    $64,664
ARCHITECT, MEP & STRUCTURAL ENGINEERING                        $320,0CX)      5320,000      $36,000      $8,114     $8,114     $8,114     $8,114    $8,114     58,114     58,114     58,114     $8,114       $8, 114    $8,114        $8, 114     $8,114     58,114
HOME TECHNOLOGY & LIGHTING DESIGN                              5115,000       $115,000           so          so         so         so         so        so         so         so         so          so          so         so             so         so         so
LANDSCAPE ARCHITECT                                              S19,800        S19,800          so          so         so         so        so         so     53,960     $3,960     $3,960     $3,960           so         so             so         so         so
INTERIOR DESIGNER (GYM• COMMON AREAS• POOl DECK)                 $75,000        575,000          so          so         so         so        so         so         so     $4,167     $4,167     $4,167       $4,167     $4,167        54,167      $4,167     $4,167
CIVIL ENGINEER                                                   S3S,OOO        S35,000          so      S2,333     52 ,333    52,333     $2,333    $2,333     52,333     52,333     52,333     52,333       52,333     $2,333        $2,333      $2, 333    52,333
INSPECTIONS & TESTING j THIRD PARTIES+ CONSTRUCTION ADMIN)     $222,000       5222,000      $15,000          so         so         so        so         so     S6,900     S6,900     $6, 900    $6,900       S6,900     56,900        56,900      $6,900     $6,900
SOILS                                                                 so             so          so
PERMITS (CITY OF MIAMI PROCESS)                                $150,000       $150,000           so          so         so         so         so        so         so         so         so          So          so         so             so         so         so
PERMIT RUNNER                                                    $50,000        SS0,000          so          so         so         so         so        so         so     $5,556     55,556     $5,556       S5,5S6     $5,556        S5,5S6      $5, 5S6    $5, 556
IMPACT FEES (COCONUT GROVE FEE?I                               $125,000       $125,000           so          so         so         so         so        so         so         so         so          so          so         so             so         so         $0
WATER & SEW ER FEES                                            S100,ocx,      $100,000           so          so         so         so         so        so         so         so         so          so          so         so             so         so         so
FF&E (COMMON; UNITS, POOL AREA)                                S625,000       $625,000           so          so         so         so         so        so         so         so         so          so          so         so             so         so         so
DEVELOPER ADMINISTRATION, PROJECT MGT                         51,000,000     5 1,000,000         so     528,571    $28,571    $28,571    $28,571   $28, 571   S28,571    $28,571    $28,571    $28,571      S28,S71    S28,571       528,571     S28,571    $28,571
MARKETING & RENDERS                                              $91,746        $91,746      $9,175          so         so         so         so        so         so         so         so     S3,0SS       $3,058     53,058        $3,058      53,058     $3,058
SEPTIC TANK - PUMPOUT HRS                                             $0             so          so          so         so         $0         so        so         so         so         so          so          so         so             so         so         so
ACCOUNTING/ AUDITS                                               $20,000        520,000          so          so         so         so         so        so         so         so         so          so          so         so             so         so         $0
MISCELlANEOUS / ADMIN                                                 $0             so          so          so         so         so         so        so         so         so         so          so          so         so             so         so         so
UTILITIES (THROUGH DEVELOPMENT}                                       so             so          so          so         so         so         so        so         so         so         so          so          so         so             so         so         so
SUSTAINABILITY PROGRAM                                                so             so          so          so         so         so         so        so         so         so         so          so          so         so             so         so         so
SAlES OFFICE / MODEL                                                  so             so          so          so         so         so         so        so         so         so         so          so          so         so             so         so         so
BUILDERS RISK                                                    $73,397        $73,397          so          so         so         so         so        so         so         so         so          so          $0         so        S3,058      $3,0S8     53,058
FLOOD INSURANCE                                                       so             so          so          so         so         so         so        so         so         so         so          so          so         so             so         so         so
GENERAL LIABILITY INSURANCE                                      $73,397        $73,397     $24,463      51, 398    $1,398     51,398     51,398    $1,398     $1,398     51,398     $1,398     $1, 398      $1, 398    51,398        51,398      51,398     $1, 398
REAL ESTATE TAXES (UNTIL CONSTRUCTION COMPLETE)                $118,447       S118,447      $39,482          so         so         so         so        so         so         so         so          so     $39,482         so             so         so         so
SOFT COST CONTINGENCY                                          $132,189       S132,189           so          so         so         so         so        so         so         so         so          so          so         so        $5,508      $5 ,508    $5,508



 OTAL CONSTRUCTION COSTS · PRE -INTEREST RESERVE & FEES      $16, 508,733   $16,501, 733   $Jli,300    $181,177    $50,617    SS0,617    $50,617   $50,617    $61,477    $71, 199   $71,199    $ 74,258    $109, 780   $70, 298   $4, 65 2,812   $68,664    $64,664




TOTAL CONSTRUCTION COSTS                                     $18,108,292    $18,108, 292   $316, 300   $ 181,177   $50,617    $50,617    $50,617   $S0,617    $61,4 77   $71, 199   $71,199    $74,258     $109,780    $70,291    $4,657,5 31    $93,066    $93,612
                                   Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 61 of 74




                                  CONT. START




                                     $252,655     $31,711               $34,283                                                       $53,621      $62,043                              $83,937     $18,872     $92,632     $95,543    $91,006    $227,035
      so          so                       so          so                    so                     so                                     so           so                                   so           so         so          so         so          so
 $19,133     $19,133    $19,133       Sl9,133          so         so         so          so         so         so             $0           SO           so            so         so          so           so         so          so         so          so
      so          so         so      5221,827          so         so         so          so         so         so             so           so           so            so         so          so           so         so          so         so    S126,758
      so          so         so            so     519,133    $19,133    $19,133     $19,133    $19,133    $21,764       $27,452       S34,797      S43,219       SSl,697    SS9,204     $65,114     S70,048     $73,809     $76,719    $79, 182    $81,453

  S7,097      $8,341     S9,592       $11 ,695    $12,578    SB,650     $15, 150    Sl7,429    SlB,824    $18,824       $18,824       $18,824      $18,824       $18,824    $18,824     $18,824     $ 18,824    S18,824     $18,824    $18,824     SlB,824

      so          so         so            so         so          so         so          so         so         so            $D            $D           so           so          $0          so          so          $0          $0         $0          $0
      so          so         so            so         so          so         so          so         so         so            so            so           so           so          so          so          so          so          so         so          so
      so          so         so            so         so          so         so          so         so         so            so            so           so           so          so          so          so          so          so         so          so
      so          so         so            so         so          so         so          so         so         so            so            so           so           so          so          so          so          so          so         so          so
      so          so         so            so         so          so         so          so         so         so            so            so           so           so          so          so          so          so          so         so          so
      so          so         so            so         so          so         so          so         so         so            so            so           so           so          so          so          so          so          so         so          so
      so          so         so            so         so          so         so          so         so         so            so            $0           so           so          so          so          so          so          so         so          so
      $0         $0         so        $45,911     $57,741    $89,043   $159,041    $290,339   $494,328   $750,690      $997,791    $1,151,942   $1,151,942     $997,798    $750,690    $494,321    $290,339    $159,041     $89,043    $57,741     $45,911
      so          $0        so         55,135     516,965    $48,267   $118,265    S249,563   S453,ss2   S709,914      S957,022    Sl,111,166   51,111,166     S957,022    $709,914    $453,552    S249,563    $118,265     $48,267    $16,965      SS,135
      $0          so        so        540,776     540,776    540,776    540,776     $40,776    $40,776    $40,776       S40, 776      540,776      $40,776      $40,776     S40,776     S40,776     >40,776     $40,776     $40,776    $40,776     $40,776

$ 193,664   $185,775   $185,775       $61,886     $61,886    $61,886    $63,866     $63,866   $101,368    $61,886       $57,719      $57,719       $57,719      $57,719     $57,719    $161,116    $184,886    $184,886    $184,886   $184,886    $184,886
   SS,114     $8,114     $8,114        $8,114      $8,114     $8,114     SB,114      SS,114     58,114     $8, 114       $8,114       $8,114        $11,114      58,114      $8,114 811428571<1 8114285714       $8,114      $8,114     $8,114      ~8,114
      so          $0        so             so         so          so         so          so         so         so            so            so           so           so          SO          $0     $23,000     $23,000     $23,000    S23,ooo     $23,000
      so         so         so             so         so          so     51,980      Sl,980         so         so            so            so           so           so          so          so          so          so          so         so          so
  $4,167      S4,167     $4,167        54,167      54,167     $4,167     $4,167      S4,167     $4,167     S4,167            so            so           so           so          $0          so          so          so          so         so          so
  S2,333         so         so             so         so          so         so          so         $0         so            so            so           so           so          so          so          $0          so          so         so          so
  S6,900      S6,900     $6,900        S6,900      $6,900     $6,900     S6,900      S6,900     $6,900     S6,900        $6,900        S6,900       $6,900        S6,900     $6,900      56,900      $6,900      $6,900      S6,900     $6,900      $6,900

 $50,000     550,00J    $50,000            so         so         so          so          so         so         so            so            so           so           $0          so          so          so          so          so         so          so
  $5,556         so         so             so         so         so          so          so         $0         so            so            so           so           so          so          so          so          so          so         so          so
 $41,667     $41,667    S41,667            so         so         so          so          so         so         so            so            so           so           so          so          so          so          so          so         so          so
 $33,333     $33,333    S33,333            so         so         so          so          so         so         SO            $0            so           $0           $0          so          so          so          so          so         so          so
      $0         so         so             so         so         so          so          so         so         so            so           $0            $0           so          so    $104,167    $104,167    $104,167    $104,167   Sl04,167    $104,167
 $28,571     $28,571    $28,571       528,571     $28,571    $28,571    $28,571     s2s,s11    $28,S71    $28,571       S28,571      528,571       S28,S71      S28,S71     $28,571     S28,571     S28,571     $28,571     $28,571    528,571     SZB,571
  $3,058      $3,058     $3,058        S3,058      S3,0S8     $3,058     $3,058      S3,058     $3,058     S3,0S8        S3,058       S3,0S8        Sl,058       53,058      $3,058      S3,0S8      $3,058      53,058      S3,058     S3,058      53,058
      so         so         so             so         so         so          so          so         so         so            so           so            so           so          so          so          so          so          so         so          so
      so         so         so         $1,111      Sl,111     Sl,111     $1,111      Sl,111     Sl.111     $1,111        $1,111        $1,111       $1,111       5 1,111     51,111      $1,111      $ 1,111     $ 1,111     $1,111     $1,111      $1,111
      so         so         so             so         so         so          so          so         so         so            so            so           $0           so          so          so          so          so         so          so          so
      so         so         so             so         so         so          so          so         so         so            so           $0            so           so          so          so          so          so         so          so          so
      so         so         so             so         so         so          so          so         so         so            so           so            so           $0          so          so          so          so         so          so          so
      so         so         so             so         so         so          so          so         so         so            so           so            $0           $0          so          so          so          so         so          so          so
  S3,058      $3,058     $3,058        $3,058      $3,058     $3,058     53,058      $3,058     53,058     S3,0S8        $3,058       $3,058        $3,058       S3,058      $3,058      S3,0SS      $3,058      S3,osa      $3,058     $3,058      $3,058
      so         so         so             so         so         so          so          so         so         so            so           so            $0           so          $0          so          so          so          so         so          so
  $1,398      51,398     $1,398        $1,398      51,398     Sl,398     51,398      $1,398     $1,398     $1,398        $1,398       Sl,398        51,398       51,398      51,398      $1,398      Sl,398      $1,398      $1,398     Sl,398      Sl,398
      so         so         so             so         so          so         so          so    $39,482         so            so           so            so           so         so           so          so          so         so          so          so
  $5,508      $5,508     $5,508        $5,508      SS,508     ss,sos     $5,508      $5,508     $5,508     55,508        SS,508       SS,508        SS,508       $5,508      SS,508      $5,508      SS,508      55,508      $5,508     SS,508      55,508



$193,664    $185,775   $185,775      $107,797    $119,627   $150,929   $222,907    $354,205   $595,696   $812,576    $1,055,517    $1,209,662   $1,209,662    $1,055,517   $SD8,409    $656,214    $475,225    $343,927    $273,929   $242,627    $230,797




$219,894    $213,249   $214,501      $360,452    $151,338   $183,712   $257,191    $390,768   $633,653   $153,164    $1 ,101,793   $1,263,282   $ 1,271,704   $1,126,038   $886,437    $740,151    $564,097    $436,560    $369,472   $340,633    $457,832
                                         Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 62 of 74




WORK SITE




                                                              5204,750      S204,750         5204,750
ACQUISITION LOAN INTEREST                                   52,714,469     52,714,469      $1,012,900     $89,556     $89,556     589,556     $89,556     $89,556      $89,556      $89,556     $89,556     $89,556     589,556     $89, 556    589,556     589,556     $89,556
CONSTRUCTION LOAN ORIGINATION FEE/EXIT FEE                  $1,185,062     51,185,062              so          so          so          so          so           so           so          so          so          so          so          so          so          so          so
CONSTRUCTION LOAN INTEREST                                  53,082,519     53,082,519              so          so          so          so          so           so           so          so          so          so          so          so          so          so          so
DEBT FUND INTEREST (IN llEU OF EQUITY)                              so              so
PURCHASER INTEREST RESERVE                                  $1,250,896     $1, 250,896             so          so          so          so          so           so           so          so          so          so          so      $1,276      55,002      58,179     510,730

ACQUISITION/ lANO PURCHASE                                 $12,961,961    $12,961,961     $11, 735,172    $32,275     $32,275     $32,275    $32,275      $32,275      $32,275      $32, 275    $32,275     $32,275     $32,275     $32, 275   $129,454     $32,275     $32,275
LAND PURCHASE                                              $10,700,000    $10,700,000     $10,700,000          so          so          so          so           so           so          so          so          so          so          so          so          so          so
ACQUISITION FEE                                               5214,000      5214,000         $2 14,000         so          so          so          so           so           so          so          so          so          so          so          so          so          so
PURCHASE TITLE & RECORDING                                    $160,500       5160,SOO        S160,500          so          so          so          so           so           so          so          so          so          $0          so          so          so          so
LEGAL ACQUISITION & LOAN CLOSING                             $129,280       $129,280          532,100          so          so          so          so           so           so          so          so          so          so          so     $97,180          so          so
ACQUISITION DUE DILIGENCE COSTS                                $30,000        $30,000         530,000          so          so          so          so           so           so          so          so          so          so          so          so          so          so
GROUND LEASE !THROUGH DEVELOPMENT)                          51,728,182     $1,728,182       $598,5 72     532,275     532,275     532,275     532,275     532,275      532,275      532,27S     532,275     $32,275     $32,27S     $32,275     532,275     $32,275     532,275


~                                                          $29,631,110    $29,631,180              $0          so          $0          $0          so           so           $0          $0          $0          so          so          so          so          $0    $123,919
HARD COST                                                  $26,943,800    526,943,800              so          so          so          so          so           so           so          so          so          so          so          so          so          so     511,723
HARD COST CONTINGENCY (10%)                                 $2,694,380     52,694,380              so          so          so          so          so           so           so          so          so          so          so          so          so          so    $112,266


~                                                          $10,523,146    $10,523,146      $1,074, 745   $110,229    $110,229    $110, 229   $110,229    $110,229     $110, 729    $110,729    $114,062    $124,S15    $124,SlS    $S48,0al    $414, 643   $414,643    $110,169
ARCHITECT, MEP & STRUCTURAL ENGINEERING                     $1,l2S,S27     $1,225,S27        $192,000     $27,933     527,933     527,933     527,933     $27,933      527,933      527,933     527,933     527, 933    527,933     527,933     527,933     527,933     527,933
HOME TECHNOLOGY & LIGHTING DESIGN                              550,000        SS0,000              so          so          so          so          so           so           so          so           $0         $0          so          so          so          so          so
LANDSCAPE ARCHITECT                                            $20,000        520,000              so          so          so          so          so           so           so          so      $3, 333     $3,333      53,333      S3.333      53,333      53,333          so
INTERIOR DESIGNER (GYM + COMMON AREAS .. POOL DECK)          s200,000        5200,000              so      58,333      $8,333      $8,333      $8,333      $8,333       $8,333       58,333      $8,333      58,333      $8,333      $8,333      $8,333      $8,333      $8,333
CIVIL ENGINEER                                                520,000         520,000          $4,000        S889        S889        $889        $889        5889         S889         5889        $889        S889       S889        5889         $889        5889       S889
INSPECTIONS & TESTING jTHIRO PARTIES• CONSTRUCTION ADMIN     $247,000        $247,000         $6 1,750     $5,007      $5,007      55,007      $5,007      55,007       $5,007       $5,007      S5,007      SS,007      SS,007      55,007      $5,007      $5,007      $5,007
SOILS                                                               so              so             so
PERMITS ((ITV OF MIAMI PROCESS)                              $250,000        s2so,ooo         $2 5,000         so          so          so          so           so          so           so          so          so          so     $75,000     $75,000     575,000          so
PERMIT RUNNER                                                   $5,000         $5,000            ssoo          so          $0          so          so           so        ssoo         ssoo        $500        ssoo        ssoo        S500        ssoo        S500       $500
IMPACT FEES I COCONUT GROVE FEE?)                            $250,000        $250,000              so          so          so          so          so           so          so           so          so          so          so     583, 333    $83,333     583, 333         so
WATER & SEWER FEES                                            5250,000      5250,000               so          so          so          so          so           so           so          so          so          so          so     $83,333     $83,333     $83, 333         so
FF&E (COMMON; UNITS; POOL AREA)                             $2, S00,000    S2, S00,000             so          so          so          so          so           so           so          so          so          so          so          so          so          so          so
DEVELOPER ADMINISTRATION , PROJECT MGT                      $2,500,000     S2,S00,000        $486,111     554,429     $54,429     $54,429     SS4,429     $54,429      $54,429      $54,429     $54,429     $54,429     $54,429     $54,429     $54,429     S54,429     $54,429
MARKETING & RENDERS                                           $336,798      $336,798          $33,680          so          so          so          so           so           so          so          so     $10,452     $10,452     510,452     $10,452     $10,452     $10,452
SEPTIC TANK · PUMPOUT HRS                                           so              so             so          so          so          so          so           so           so          so          so          so          so          so          so          so          so
ACCOUNTING/ AUDITS                                             $30,000        $30,000              so          so          so          so          so           so           so          so          so          so          so          so      51,154      51,154      $1,154
MISCELLANEOUS/ AOMIN                                           $30,000        $30,000              so          so          so          so          so           so           so          so          so          so          so          so      51,154      S1,154      51.154
UTILITIES jTHROUGH DEVELOPMENT)                               $200,000       $200,000              so          so          so          so          so           so           so          so          so          so          so          so      S7,692      $7,692      $7,692
SUSTAINABILITY PROGRAM                                      51,000,000     $1,000,000              so          so          so          so          so           so           so          so          so          so          so          so     538,462     $38,462     $38,462
LEASING OFFICE/ MODEL                                               so              so             so          so          so          so          so           so           $0          so          so          so          so          so          so          so          so
BUILDERS RISK                                                $269,438        $269,438              so          so          so          so          so           so           so          so          so          $0          so          so          so          so     $11,227
FLOOD INSURANCE                                                     so              so             so          so          so          so          so           so           so          so          so          so          so          so          so          so          so
GENERAL LIABILITY INSURANCE                                   $269,438       5269,438         $89,804      $4,855      $4,855      $4,855      $4,BSS      $4,855       $4,SSS       $4,855      $4,855      $4,855      $4,855      $4,8SS      54,855      $<1,855     $4,SSS
REAL ESTATE TAXES !UNTIL CONSTRUCTION CO~PLETE)              $S4S, 700       $S4S, 700       5181,900          so          so          so          so           so           so          so          so          so          so    $181,900          so          so          so
SOFT COST CONTINGENCY                                         5324,945       S324,945              so      S8, 782     58,782      $8,782      $8,782      58,782       $8, 782      58,782      $8, 782     $8, 782     $8, 782     $8, 782     $8,782      $8,782      $8, 782



TOTAL CONSTRUCTION COSTS PR£•1NTfREST RESERVE & FEES       $53,123,917    $53,123,917     $12,809,916    $142, 503   $142, S03   $142, 503   $142, 503   $ 142, 503   $143,003     $143,003    $146,337    $1S6,719    $156,789    S580, 3S6   $544,097    $446,917    $337,133




TOTAL CONSTRUCTION COSTS                                   $61, S61,683   $61, S61, 683   $14,027, 566   $232,060    $23 2,060   $232,060    $232,060    $232,060     $ 232, S60   $232, S60   $23S,893    $246,345    S246,34S    $671,111    $631,6S5    $544,65 2   $437,420
                                    Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 63 of 74




                                                                                                                                                                                             $260,334      $276,594      S289,402     $299,244      $309,619     $318,569     $326,627     S334,2 14
                                                                                                                                                                                                    so           $0            so            so           so            so          $0            so
 589,556    $89,556      $89,556     $89,556      $89,556             so             so           so                                         so           so                          so            so           $0            so            so           so            so           so           so           so
      so          so          so          so     S754,131             so             so           so                                         so           so            so            so            so           so            so            so           so            so          $0           $0      $430,932
      so          so          so          so           so      $62,300         S62,300       562,300      $65,076        $84,099      Sl06,195     SU0,052       Sl54,069      $176,575      $196,287      $212,547      $225,355     $235,196      $245,572     5254,522     $262,580     $270,167      S277,327

 $13,400    S16,3 16     $19,710     523,962      S34,034      S41,611         SSI,920       $64,047      $64,047        $64,047        S64,047      $64,047      S64,047        $64,047      $64,047       $64,047       $64,047      $64,047       $64,047      S64,047      S64,047      $64,047       $64,047

 $32,275    $32,275      $32, 275    $32,2 75     $32,275      $32,275         $32,275       $32,275      $ 32,275      $32,275         $32,275      S32,275      S32,275        $32,275      $32,275       $32,275       $32,275      $32,275       $32, 275     $32,275      $32, 275           $0           $0
      so          so          so          so           so             so            so            so           so              so            so           so            so            so            so           so            so           so            so            so          so            $0           so
      so          so          so          so           so             so            so            so           so              so            SO           so            so            so            $0           $0            so           $0            $0            so          so            $0           $0
      so          so          so          so           so             so            so            so           so              so            so           so            so            $0           so            so            $0           so            $0            $0          $0            $0           so
      so          so          so          so           so             so            so            so           so              so           so            so            so            so           so            so            $0           so            so           so           so            so           so
      so          so          so          so           so             so            so            so           so              so           so            so            so            so           so            so            so           so            so           so           so            so           so
 S32,275    S32,275      $32,275     S32,275      S32,275      S32,275         S32,275      532,275       532,275       $32,275        $32,275       $32,275      S32,2 75       S32,27S      S32,275       S32,275       $32,275      $32,275       $32,275      $32,275      S32,275            so           so
$141,956   SUll,361     $260,064    $402,774     $637,02 1    $913,365       $1,441,164   $1,975,339   $2,512,661    S2,9 54,442     S3,204,947   $3,204,947   S2,954,442     $2,512,661   $1,975,339    $1,441, 164    $983,365      $637,021     $402,774      $260,064     $181,361     $141,956      $123,989
 S29,691    $69, 102    S147,798    $290,S08     SS24,755     $871,099       Sl,328,898   Sl,863,073   $2,400,395    S2,842,177      $3,092,681   $3,092,681   $2,842,177     S2,400,395   Sl,863,073    Sl,328,898     S871,099      S524,755     $290,508      $147,798      S69,102      $29,691       Sll,723
$112,266   $112,266     Sl12 ,266   S112,266     S112,266     $112,266        5112,266      5112,266     $112,266      S112,266       Sll2,266      5112,266    S112,266        S112,266     Sll2,266      $112,266     $112,266      $112,266     5112,266      Sll2,266     $112,266     5112,266      S112,266

SUI0,369   $180,369     $180,369    $180,369     $179,4&0     $179,4&0        $179,480     $361,380     $179,480       $179,480       $171,147     Sl71,147     $171,147       $171,147      $171,147    $171,147    $171,147         $587,814     S597,814      $597,814     $597,814     S597,814      $597,814
 S27,933    $27,933      S27,933     527,933      $27,933      $.!l,'H.::I     S.0,933      527,933      $27,933        $27,933        $27,933      S27,933      $27,933        $27,933       $27,933 27933.16757 2793316757           $27,933      527,933       $27,933      $27,933      $27,933       $27,933
      so          so          so          so           so             so            so           so            so              so           so           so             so           so            so            so            so           so      Sl0,000       $ 10,000     $10,000      $10,00CI      $10,000
      so          so          so          so           so             so            so           so            so              so           so           so             so           so            so            so            so           so            so           so           $0         ' so            so
  S8,333     $8,333       S8,333      S8,333       58,333        SS,333         SS,333        SS,333       $8,333         SB,333            so           so             so           so            so            so            so           $0            so           so           so           so            so
    S889      $889          $889        $889           so             so            so           so            so              so           so           so             so           so            so            $0            so           so            so           so           so           $0            so
  SS,007     $5,007       $5,007      $5,007       $5,007        $5,007         55,007        55,007       55,007         55,007        SS,007       SS,007        $5,007         $5,007       $5,007        $5,007        $5,007       55,007        $5,007       $5,007       SS,007       $5,007        $5,007

      so          so          so          so           so             so            so           so            so              so           so           so             SO           so            so            SO            SO           so            $0           so           so            $0           so
      so          so          so          so           so             so            so           so            so              so           so           so             so           so            so            SO            so           so            $0           so           so            so           $0
      so          so          so          so           so             so            so           so            so              so           so           so             SO           SO            $0            so            so           so            so           so           so            $0           $0
      so          so          so          so           SO             SO            So           SO            so              so           so           so             so           so            so            SO            SO          $0             so           so           so            so           $0
      so          so          so          so           so             so            so           so            so              so           so           so             $0           so            SO            so           so     $416,667      $416,667      $416,667     $416,667     $416,667      $416,667
$54,429     $54,429      $54,429     $54,429      S54,429      S54,429         S54,429      SS4,429      S54,429        $54,429        $54,429      SS4,429       $54,4 29      $54,429       $54,429       $54,429      $54,429      $54,429       $54,429       $54,429      $54,429      $54,429       $54,429
Sl0,452     $10,4 52     $ 10,452    $ 10,452     SI0,452      Sl0,452         St0,452      $10,452      $10,452        $10,452        $10,452      $10,452       Sl0,452       $10,452       Sl0,452       Sl0,452      $10,452      $10,452       $10,452       $10,4 52     $10,452      510,452       $10,452
      so          so          so          so           so             so            so           so            so              so           so           so             so           SO            $0            so            so           so            $0           so            $0            $0          so
  $1,154     $ 1, 154     $1,154      $1,154       $1,154       Sl,154          $1,154       51,154       51,154         $1,154         51,l~        Sl,1~         Sl, 154       $1,154        Sl,154        51, 154      Sl,154        $1,154       Sl,l~         $1,154       Sl,154       Sl,154        Sl,154
  $1,154     $ 1,154      $1,154      $1 ,154      $1, 154      51, 154         51 ,154      51,154       51,154         Sl,1S4         $1,154       Sl,l~         Sl ,154       Sl,154        $1,154        $1,154       Sl,154        $1,154       Sl ,154       $1,154       Sl ,154      $1 ,154       $1,154
  $7,692     57,692       S7,692      $7,692       S7,692       $7,692          $7,692       57,692       S7,692         $7,692         $7,692       S7,692        $7,692        $7,692        $7,692        S7,692       S7,692        $7,692       S7,692        $7,692       S7,692       S7,692        S7,692
 $38,462    $38,462      S38,462     S38,462      SlS,462      $38,462         $38,462      $38,462      $38,462        $38,462        $38,462      S38,462       S38,462       $38,462       S38,462       S38,462      S38,462       S38,462      $38,462       $38,462      $38,462      $38,462       S38,462
      so          so          so          so           so             so            so           SO            so              so           so           so             so           so            so            so           SO            $0            $0           so           so             $0          so
 511,227    $11,227      Sll,227     Sll,227      511,227      $11,227         511,227      Sll,227      Sll .227       511,227        $11,227      $11,227       $ 11, 227     $11,227       Sll,227       $11,227       $11,227      Sll,227      Sll.227       S ll,227     $11, 227     $11 , 227     Sll,227
      so          so          so          so           so             so            so           so            so              so           $0           so             so           so            so            so            $0           $0            SO           so            $0           so           $0
  S4,85S     $4,855       S4,8SS      $4,855       $4,855        $4,855         S4,855       S4,855        S4,855         S4,855        S4,855       $4,855        $4,855        S4,855        $4,855        $4,855        $4,855       $4,855        $4,855       $4,855       S4,855       $4,855        $4,855
      so          so          so          so           so             SO            SO     5181,900            so              so           so           so             so           so            so            $0           So            SO            SO           so           so           $0            so
  $8,782     S8,782       $8,782      $8,782       $8,782       SS,782          $8,782       S8,782        58,782         58,782        $8,782       $8,782        SB,782        SS,782        $8,782        SB,782        SB,782       $8,782        SS,782       SS,782       $8,782       $8,782        SB,782



$354,600   $394,012     $472,708    $615,4UI     $148,776    $1,195,120      $1,652,919   $2,361,994   $2,724,416    $ 3, 166, 197   $3,408,361   $3,408,361   $3,15 7,864    $2,716,083   $2, 178,760   $1,644,586    $1,186,787   $1, 257,109   $1,032,862     $890,153     $811,456     $739,770      $721,803




$457,556   $499,884     $581,975     $728,936   $1,726,497   $1,299,031      $1,767,139   $2,495,341   $2,853,539    $3,314,344      $3,578,610   $3,602,461   $3,375,980     $2,956,705   $2,439,094    $1,921,180    $1,476,189   $1,556,353    $ 1,342,481   $1,208,722   $1,138,083   $1,073,985    $1,494,109
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 64 of 74




                          EXHIBIT F - ORGANIZATIONAL CHART




     l WU570503 2}
                           Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 65 of 74




                                                                                                                                   See Exhibit 3
                                                                                                                                                                                       Rishi Kapoor
                                                     See Exhibit 3                                                                                                                        50%

                                                                                                                                Location Ventures, LLC
                                                                                                                                        100%
                                               Location Ventures, LLC
                                                         100%
                                                                                                                                                                                              All Other Members
                                                                                                                               Location GP Sponsor, LLC          Kapoor Capital, LLC
                                                                                                                                                                                                      54.54%
                                                                                                                                      36 .369%                         9.091%
                                                                                                                                                                                                  See Exhibit 2


                                                 Location Equity                 All Other Class A Investors
                                                  Holdings, LLC                           71.43%
                                                        28.57%                         See Exhibit 1




                                                                                                                                                                          URBIN Founders Group, LLC
                                                                        Class A Investors                                                                                   Rishi Kapoor, Manage r
                                                                               70%                                                                                                   30%




Halpern Family Trust               Thomas J. Tharrington                                                       URBIN, LLC
      7.428%                             4.456%                                                                88.116%%


                                                                                                                                                          URBIN, LLC
                                                                                                                                                           (Class A)
                                 Class B Investors                                                                                                           37%
                                        63%




                                                                                         URBIN Coconut Grove Partners, LLC
                                                                                                      100%



      URBIN Commodore SPE, LLC                               URBIN Ventures, LLC                                 URBIN Commodore Residential SPE, LLC     URBIN Commodore Restaurant SPE, LLC
               100%                                                100%                                                       100%                                     100%



      3138 Ground/Office Lease                                   3166 + 3170/Yoga                                              Condo Units                     3120 Ground Lease/Restaurant
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 66 of 74




                                          EXHIBIT 1

                    Name of Member                    Membership Units/%
                                                         7.14%/Class A
                                                         7.14%/Class A
                                                         7.14%/Class A
                                                         7.14%/Class A
                    Urbin Partners, LLC                  7.14%/Class A
                                                         7.14%/Class A
                                                         7.14%/Class A
                                                         0.268% Class A
                                                         0.89%/Class A
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 67 of 74




                                          EXHIBIT 2




                    Name of Member                    Membership Units/%
                                                            9.09%
                                                            9.09%
                                                            9.09%
                    Urbin Partners, LLC                     9.09%
                                                            9.09%
                                                            9.09%
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 68 of 74




                                     EXHIBIT 3
                       (Ownership of Location Ventures, LLC)




                                                                                                    Rishi Kapoor           Brij Kapoor
                                                                                                        50%                   50%



                                                                                                          ~/
                                                                                                           Kapoor Capital, LLC
                                                                                                           Rishi Kapoor, Manager
                                      Daniel Motha            Rishi Kapoor             Jan Kapoor          Brij Kapoor, Manager
                                          45.05%                  45 .05%                1.25%                     8.65%

                                             I                       I                                              I
                                                                     I
                   See Exhibit 3A                             Patriots United, LLC
                                                              Rishi Kapo or, Manager
                      50.14%
                                                                     49.86%

                                    ~~
                                    Location Ventures, LLC
                                      Rishi Kapoor, Manager


                                                 I
                           I Continued from Organizational Chart I
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 69 of 74




                                 EXHIBIT 3A

               Name of Member                      Membership Units/%
                                                3.00 Membership Units/2.515%
                                                5.00 Membership Units/4.191%
                                                2.00 Membership Units/1.677%
                                                0.75 Membership Units/0.629%
                                                0.50 Membership Units/0.419%
                                               0.625 Membership Units/0.524%
                 Vivian Bonet                   1.00 Membership Units/0.838%
                                                2.50 Membership Units/2.096%
                                                6.00 Membership Units/5.030%
                                              36.002 Membership Units/30.180%
                                               0.120 Membership Units/0.101%
                                               0.180 Membership Units/0.151%
                                               0.180 Membership Units/0.151%
                                               0.500 Membership Units/0.419%
                                               0.971 Membership Un its/0.814%
                                               0.485 Membership Units/0.407%
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 70 of 74




                    EXHIBIT "B"
Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 71 of 74
7/30/23. 8: 15 PM                                                             Gmail - RE: Urbi n Q i Financials




             Gmail                                                                                                   clifflosh - ->



  RE: Urbin Q1 Financials
                                                                                                                             Fri , Aug 19, 2022 at 8:30 AM




     Margo,



    Q2 financials are late. They were due to us on Monday. Ehen will we receive them?



    Also, it's been 10 days since I sent the questions. Please at least begin answering what you can and the rest later. I
    would rather get someth ing than nothing.



    Thanks,




   -

    From: Margo Cook <mcook@location .ventures>
    Sent: Wednesday, August 10, 2022 5:47 PM
    To:
    Cc:


    Subject: Re: Urbin Q1 Financials



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Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 72 of 74



   -
7/30/23. 8: 15 PM                                                              Gma il - RE: Urbin Q I Financia ls



     I have received your email and wil l get back to you to address each of your questions/requests .

     Thank you!

     Margo



     On Wed , Aug 10, 2022 at 4:51 PM                                                                                wrote:

        Margo,



        After reviewing the 01 financials , we have the fo llowing questions:



              1. Please provide all March 2022 ban k statements and reconciliations that agree to the 3/31 /22 balance sheet
              2. Per paragraph 7.5 of the operating agreement, marketing fees are "paid as billed for services." Please provide
                 copies of the invoices for services provided (or an explanation of services ) totaling $200,750 through 3/31 /22.
              3. Per paragraph 7.5 of the operating ag reement, the property management fee should be 4% of gross revenue . If
                 I'm looking at the correct lines on the P&L, th is seems to be in excess of 4%. Please help me understand the
                 calculation .


                                       Gross Revenue                     4% of Gross Prop Mgmt Exp                                         Over/
                                         PerP&L                           Revenue        PerP&L                                           (Under)
                    20 18                      8,080                             323                                                          (323)
                    20 19                    _o J04                            8,292         12,000                                          3, 08
                    2020                     698 427                          2 937          36 000                                          8,063
                    202 1                     31,48                           29,259         60,000                                         30, 41
                    2022 Ql                   55 ,003                          2,.... 00     15,000                                         12,800

                                                                                     68,0 1....                     1.... 3 000                54,988
             4. Balance sheet shows $32K of sa les commissions ($8K increase in 0 1). However I don 't see any sales
                proceeds , deposits or rece ivables . Where can we find evidence of these sales in the financials?
             5. Please provide closing statement for 3170
             6. Please provide closing statement for 3166
             7. Please provide calculations for the acquisition fees charged totaling $240K through 3/31 /22.
             8. Per paragraph 7.5 of the operating agreement, the development fee is to be paid "pro-rata".

                      a. What are you basing your pro-rata calcu lations on?
                      b. Please provide an accounting of the amounts charged totaling $2.45M through 3/3 1/22.

             9. Please provide supporting documentation for extension clos ing fees.
            10. AP is supposed to be amounts due to vendors/suppliers for goods and services received .

                      a. Why are related party due to/froms being reclassed into AP?
                      b. What type of expenses are accrued to Location Properties and how much of the current AP balance is a
                         loan rather than a fee for services received?
                      c. What type of expenses are accrued to Urbin LLC and how much of the current AP balance is a loan
                         rather than a fee for services rece ived?
                      d. What type of expenses are accrued to Location Cap ital and how much of the curren t AP balance is a loan
                         rather than a fee for services received?
                      e. What type of expenses are accrued to Location Development and how much of the current AP balance is
                         a loan rather than a fee for services rece ived?

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Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 73 of 74
7130123. 8: 15 PM                                                             Gmail - RE: Urbin QI Financia ls

            11 . Don't see a loan guarantee fee in the financials . Please confirm that none has been paid or accrued yet or if it
                 has what the total amount is.
            12. Please provide current loan statements agreeing all balances to the 3/31/22 balance sheet and amounts paid
                 YTD (interest, escrow, etc)
            13. Please provide payoff documents for paydown of Pensam
            14. Why is Urbin LLC making capital contributions?
            15. Please provide copies of final Operating Agreement with signatures of all partners
            16. Please provide updated Exhibits E & F reflecting final members and reflecting -           investment increase
                 from $4.2M to $4.3M
            17. Please provide a budget v. actual (total to date) using the approved budget from Exhibit D of the operating
                 agreement, see attached. Please also include an estimate of cost to complete .



        Thank you ,




        From : Margo Cook <mcook@location .ventures>
        Sent: Tuesday, June 21 , 2022 8:47 PM
        To :

                                          anie                  ocation .ventures>;
                                 Is I apoor <rkapoor@location.ventures>
        Subject: Re: Urbin Q1 Financials



        Good evening ,

        Please find attached the URBIN Coconut Grove Q1 Financials. Please note regarding cash from this quarter that we
        paid down payables, made operational expenses, had pay downs for the loan to avoid foreclosure to buy extensions,
        and purchased what was to be out of contract with no extensions for the land for LS2. Please let me know if you have
        questions. Thank you!

        Margo




                       LOCATION                   Margo Cook, CFP, CAP, CFRE
                      VENTURES

                                                  Chief Investor Relations Officer, Location Ventures


                                                  o: 786-701-6724


                                                   mcook@location.ventures I www.location .ventures

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Case 1:23-cv-24903-JB Document 6-7 Entered on FLSD Docket 12/27/2023 Page 74 of 74
7/30/23. 8: 15 PM                                                           Gmail - RE: Urbin Q i Fi nancials




                                                  299 Alhambra Circle, Ste . 510, Coral Gables, FL 33134




        On Thu , Jun 16, 2022 at 10:17 AM

           Hi Margo ,



           What is the status of the Urbin Coconut Grove Q1 financials (BS, P&L, Stmt of cash flow, AR aging and AP aging)?
           They were do to partners on May 15th .



           Thanks,




                                              Margo Cook, CFP, CAP, CFRE

                                              Chief Investor Relations Officer, Location Ventures


                                              o: 786-701-6724
                    LOCATION
                    VENTURES
                                              mcook@location.ventures I www.location .ventures




                                              299Alhambra Circle , Ste. 510, Coral Gables, FL33134




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